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                         16                        UNITED STATES DISTRICT COURT
                         17                      CENTRAL DISTRICT OF CALIFORNIA
                         18                      WESTERN DIVISION AT LOS ANGELES
                         19   UNITED STATES OF AMERICA ex rel.                  Case No. 2:16-cv-08697 MWF (SS)
                              Benjamin POEHLING
                         20
                                                      Plaintiffs,               CORRECTED SECOND
                         21         vs.                                         AMENDED COMPLAINT OF
                         22   UNITEDHEALTH GROUP, INC., a                       PLAINTIFF-RELATOR
                              Delaware corporation; UNITED                      BENJAMIN POEHLING FOR
                         23   HEALTHCARE SERVICES, INC., a
                              Minnesota corporation; UNITED                     VIOLATIONS OF FALSE
                         24   HEALTHCARE, INC., a Delaware                      CLAIMS ACT, 31 U.S.C. §§ 3729
                              corporation; UNITEDHEALTHCARE                     ET SEQ.
                         25   INSURANCE COMPANY, a Connecticut
                              corporation; UHIC HOLDINGS, INC., a
                         26   Delaware corporation; OVATIONS, INC., a
                              Delaware corporation; OPTUMINSIGHT,
                         27   INC., formerly known as INGENIX, INC., a
                              Delaware corporation; OPTUM, INC., a
                         28   Delaware corporation; AMERICHOICE OF
                              NEW JERSEY, INC., a New Jersey
                              corporation; ARIZONA PHYSICIANS IPA,

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                              INC., an Arizona corporation; CARE
                          1   IMPROVEMENT PLUS OF MARYLAND,
                              INC., a Maryland corporation; CARE
                          2   IMPROVEMENT PLUS OF TEXAS
                              INSURANCE COMPANY, a Texas
                          3   insurance company; CARE
                              IMPROVEMENT PLUS SOUTH
                          4   CENTRAL INSURANCE CO., an Arkansas
                              insurance company; CARE
                          5   IMPROVEMENT PLUS WISCONSIN
                              INSURANCE COMPANY, a Wisconsin
                          6   insurance company; CATAMARAN
                              INSURANCE OF OHIO, INC., an Ohio
                          7   corporation; CITRUS HEALTH CARE,
                              INC., a Florida corporation; HEALTH PLAN
                          8   OF NEVADA, INC., a Nevada corporation;
                              MEDICA HEALTHCARE PLANS, INC., a
                          9   Florida corporation; OXFORD HEALTH
                              PLANS (CT), INC., a Connecticut
                         10   corporation; OXFORD HEALTH PLANS
                              (NJ), INC., also known as Oxford Health
                         11   Plans of New Jersey, Inc., a New Jersey
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                              corporation; OXFORD HEALTH PLANS
                         12   (NY), INC., a New York corporation;
                              PACIFICARE LIFE AND HEALTH
                         13   INSURANCE COMPANY, an Indiana
                              insurance company; PACIFICARE OF
                         14   ARIZONA, INC., an Arizona corporation;
                              PACIFICARE OF COLORADO, INC., a
                         15   Colorado corporation; PACIFICARE OF
                              NEVADA, INC., also known as
                         16   PacifiCare/UHC of Nevada, a Nevada
                              corporation; PHYSICIANS HEALTH
                         17   CHOICE OF TEXAS, LLC, a Texas limited
                              liability company; PREFERRED CARE
                         18   PARTNERS, INC., a Florida corporation;
                              ROCKY MOUNTAIN HEALTH
                         19   MAINTENANCE ORGANIZATION, INC.,
                              a Colorado company; SIERRA HEALTH
                         20   AND LIFE INSURANCE COMPANY,
                              INC., a Nevada corporation; SYMPHONIX
                         21   HEALTH INSURANCE, INC., an Illinois
                              insurance company; UHC OF
                         22   CALIFORNIA, INC., formerly known as
                              PacifiCare of California, Inc. and PacifiCare
                         23   of California/Secure Horizons, a California
                              corporation; UNISON HEALTH PLAN OF
                         24   TENNESSEE, INC., a Tennessee
                              corporation; UNITED HEALTH CARE INS.
                         25   CO. AND UNITED NEW YORK, a New
                              York insurance company;
                         26   UNITEDHEALTHCARE BENEFITS OF
                              TEXAS, INC., formerly known as PacifiCare
                         27   of Texas, Inc., a Texas corporation;
                              UNITEDHEALTHCARE COMMUNITY
                         28   PLAN OF OHIO, INC., formerly known as
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                              Unison Health Plan of Ohio, Inc., an Ohio
                          1   corporation; UNITEDHEALTHCARE
                              COMMUNITY PLAN OF TEXAS, L.L.C.,
                          2   formerly known as Evercare of Texas, LLC, a
                              Texas limited liability company;
                          3   UNITEDHEALTHCARE COMMUNITY
                              PLAN, INC., also known as Great Lakes
                          4   Health Plan, Inc. and UnitedHealthcare of the
                              Great Lakes Health Plan, Inc. a Michigan
                          5   corporation; UNITEDHEALTHCARE
                              INSURANCE COMPANY OF NEW YORK,
                          6   also known as United Healthcare Insurance
                              Company of New York, a New York
                          7   insurance company;
                              UNITEDHEALTHCARE INSURANCE
                          8   COMPANY, also known as United
                              Healthcare Insurance Company, a
                          9   Connecticut insurance company;
                              UNITEDHEALTHCARE OF ALABAMA,
                         10   INC., an Alabama corporation;
                              UNITEDHEALTHCARE OF ARIZONA,
                         11   INC., an Arizona corporation;
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                              UNITEDHEALTHCARE OF ARKANSAS,
                         12   INC., an Arkansas corporation;
                              UNITEDHEALTHCARE OF FLORIDA,
                         13   INC., also known as United Healthcare of
                              Florida, Inc., a Florida corporation;
                         14   UNITEDHEALTHCARE OF GEORGIA,
                              INC., also known as United Healthcare of
                         15   Georgia, Inc., a Georgia corporation;
                              UNITEDHEALTHCARE OF NEW
                         16   ENGLAND, INC., also known as United
                              Health Plans of New England, Inc., a Rhode
                         17   Island corporation; UNITEDHEALTHCARE
                              OF NEW YORK, INC., also known as
                         18   Americhoice of New York, Inc. and United
                              Healthcare of New York, Inc., a New York
                         19   corporation; UNITEDHEALTHCARE OF
                              NORTH CAROLINA, INC., also known as
                         20   United Healthcare of North Carolina, Inc., a
                              North Carolina corporation;
                         21   UNITEDHEALTHCARE OF OHIO, INC.,
                              also known as United Healthcare of Ohio,
                         22   Inc., an Ohio corporation;
                              UNITEDHEALTHCARE OF OKLAHOMA,
                         23   INC., formerly known as PacifiCare of
                              Oklahoma, Inc., an Oklahoma corporation;
                         24   UNITEDHEALTHCARE OF OREGON,
                              INC., formerly known as PacifiCare of
                         25   Oregon, Inc., an Oregon corporation;
                              UNITEDHEALTHCARE OF
                         26   PENNSYLVANIA, INC., formerly known as
                              Unison Health Plan of Pennsylvania, Inc., a
                         27   Pennsylvania corporation;
                              UNITEDHEALTHCARE OF TENNESSEE,
                         28   INC., also known as United Healthcare of
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                              Tennessee, Inc., a Tennessee corporation;
                          1   UNITEDHEALTHCARE OF THE
                              MIDLANDS, INC., also known as United
                          2   Healthcare of the Midlands, Inc., a Nebraska
                              corporation; UNITEDHEALTHCARE OF
                          3   THE MIDWEST, INC., also known as
                              United Healthcare of the Midwest, Inc., a
                          4   Missouri corporation;
                              UNITEDHEALTHCARE OF UTAH, INC.,
                          5   also known as United Healthcare of Utah,
                              Inc., a Utah corporation;
                          6   UNITEDHEALTHCARE OF
                              WASHINGTON, INC., formerly known as
                          7   PacifiCare of Washington, Inc., a
                              Washington corporation;
                          8   UNITEDHEALTHCARE OF WISCONSIN,
                              INC., also known as United Healthcare of
                          9   Wisconsin, Inc., a Wisconsin corporation;
                              and, UNITEDHEALTHCARE PLAN OF
                         10   THE RIVER VALLEY, INC., also known as
                              United Healthcare Plan of the River Valley,
                         11   Inc., an Illinois corporation.,
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                         12                               Defendants.
                         13          Pursuant to the March 15, 2017, Order on Corrected Notice of Election of the

                         14   United States to Partially Intervene (Dkt. No. 93), and the July 19, 2017, notice by the

                         15   Court (Dkt. No. 136), qui tam plaintiff Benjamin Poehling (“Relator”), through his

                         16   attorneys, hereby submits this Corrected Second Amended Complaint, incorporating

                         17   by reference the substantive False Claims Act allegations set forth in the Complaint in

                         18   Intervention of the United States of America. Relator does not intend to pursue any

                         19   claims other than those set forth in the Complaint in Intervention filed by the United

                         20   States of America.

                         21   I.     INTRODUCTION
                         22          1.    This is an action to recover damages and civil penalties on behalf of the

                         23   United States under the Federal False Claims Act, 31 U.S.C. §§ 3729–33 (the “FCA”),

                         24   against UnitedHealth Group, Inc. and its affiliates and subsidiaries (“UHG,” “United,”

                         25   or “Defendants”).

                         26          2.    Defendants are now and have been, in some cases since at least 2006,

                         27   engaged in a widespread scheme to knowingly submit, or cause to be submitted, false

                         28   claims for payment to the United States by submitting false “risk adjustment”
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                          1   information to the Centers for Medicare & Medicaid Services (“CMS”) in order to
                          2   improperly increase the amounts CMS pays them or their clients. Likewise,
                          3   Defendants have knowingly retained overpayments received from CMS as a result of
                          4   their false risk adjustment submissions.
                          5         3.     The Medicare Advantage (“MA”) program is designed to apply to
                          6   Medicare a form of the “managed care” model commonly used by private health
                          7   insurance companies. Under the managed care model, an employer or other
                          8   organization seeking health care for its members—here the United States through the
                          9   Medicare Program—pays a managed care organization a fixed fee to provide health
                         10   services to its members. The payment is typically a per-member-per-month
                         11   (“PMPM”) rate, also known as a capitation rate. The managed care organization
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                         12   receiving capitation payments (often a hospital, physician group, or other health
                         13   insurance company) is responsible for paying hospitals, physicians and all other
                         14   medical providers for health care services provided to the members of the plan. This
                         15   differs from traditional fee-for-service (“FFS”) models, where the organization pays
                         16   individual physicians, hospitals and other providers for each service they provide to
                         17   the organization’s members.
                         18         4.     Through the MA program, Medicare allows private health insurers to set
                         19   up managed care plans to cover Medicare beneficiaries. Medicare pays a monthly
                         20   capitation rate for each beneficiary enrolled as a member of a MA plan. MA plans
                         21   must then use that money to pay hospitals, physicians and other health care providers
                         22   for the services the plan members receive and cover the plans’ administrative
                         23   expenses. Certain MA plans are also given money to pay for the plan members’
                         24   prescription drugs. Under both types of plans, CMS adjusts the capitation rate for
                         25   each beneficiary to reflect that beneficiary’s individual demographics (e.g., age and
                         26   gender), geographic location, and health status.
                         27         5.     The adjustment for each member’s health status is one of the most
                         28   significant components of the capitation rate. Individuals with multiple and/or serious
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                          1   health conditions account for more healthcare costs than healthy members.
                          2   Accordingly, CMS pays a substantially higher capitation rate for members who have
                          3   been recently treated for one or more serious, expensive diseases or conditions. These
                          4   increased payments are known as “risk adjustment” payments. On average, CMS
                          5   pays a MA plan close to $3,000 per year for each condition that a member has that
                          6   requires a risk adjustment payment.
                          7         6.     To receive these risk adjustment payments, MA plans submit claims to
                          8   CMS each year for each member for each qualifying disease or condition. When the
                          9   plan submits these claims, it must assert that the member received treatment in the
                         10   twelve-month period before the payment year for the diagnosed condition from a
                         11   qualified healthcare provider. MA organizations may only submit a diagnosis for risk
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                         12   adjustment that: (1) stems from a face-to-face visit; (2) with a qualified healthcare
                         13   provider; (3) during the appropriate service period; and (4) is documented in a medical
                         14   record.
                         15         7.     Defendants are engaged in systematic fraud in which they routinely:
                         16                a.    “Upcode” risk adjustment claims by submitting claims for
                         17         diagnoses that the member does not have or for which the member was not
                         18         treated in the relevant year, or by claiming that a member was treated for a
                         19         more serious condition than the member actually has; and
                         20                b.    Refuse to correct (and refuse to reimburse Medicare for)
                         21         previously submitted risk adjustment claims when defendants discover, or in the
                         22         exercise of reasonable care should discover, that those previously submitted
                         23         claims were false.
                         24         8.     United (through its subsidiary Ingenix) is engaged in systematic fraud by
                         25   assisting and causing MA organizations to submit fraudulent risk adjustment claims,
                         26   and failing to correct (and reimburse Medicare) for previously submitted false claims.
                         27         9.     Through this fraudulent scheme, defendants have defrauded the United
                         28   States of hundreds of millions—and likely billions—of dollars.
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                          1         10.    Defendants’ conduct alleged herein violates the federal False Claims Act.
                          2   The federal False Claims Act (the “FCA”) was originally enacted during the Civil
                          3   War. Congress substantially amended the Act in 1986—and, again, in 2009 and
                          4   2010—to enhance the ability of the United States Government to recover losses
                          5   sustained as a result of fraud against it. The Act was amended after Congress found
                          6   that fraud in federal programs was pervasive and that the Act, which Congress
                          7   characterized as the primary tool for combating government fraud, was in need of
                          8   modernization. Congress intended that the amendments would create incentives for
                          9   individuals with knowledge of fraud against the Government to disclose the
                         10   information without fear of reprisals or Government inaction, and to encourage the
                         11   private bar to commit legal resources to prosecuting fraud on the Government's behalf.
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                         12         11.    The FCA prohibits, inter alia: (a) knowingly presenting (or causing to be
                         13   presented) to the federal government a false or fraudulent claim for payment or
                         14   approval; (b) knowingly making or using, or causing to be made or used, a false or
                         15   fraudulent record or statement material to a false or fraudulent claim; (c) knowingly
                         16   making, using, or causing to be made or used, a false record or statement material to
                         17   an obligation to pay or transmit money or property to the Government, or knowingly
                         18   concealing or knowingly and improperly avoiding or decreasing an obligation to pay
                         19   or transmit money or property to the Government; and (d) conspiring to violate any of
                         20   these three sections of the FCA. 31 U.S.C. §§3729(a)(1)(A)-(C), and (G). Any
                         21   person who violates the FCA is liable for a civil penalty of up to $21,916 for each
                         22   violation, plus three times the amount of the damages sustained by the United States.
                         23   31 U.S.C. §3729(a)(1).
                         24         12.    For purposes of the FCA, a person “knows” a claim is false if that
                         25   person: “(i) has actual knowledge of [the falsity of] the information; (ii) acts in
                         26   deliberate ignorance of the truth or falsity of the information; or (iii) acts in reckless
                         27   disregard of the truth or falsity of the information.” 31 U.S.C. §3729(b)(1). The FCA
                         28   does not require proof that the defendants specifically intended to commit fraud. Id.
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                          1   Unless otherwise indicated, whenever the words “know,” “learn,” discover” or similar
                          2   words indicating knowledge are used in this Complaint, they mean knowledge as
                          3   defined in the FCA.
                          4           13.   Each claim for risk adjustment payments that defendants have submitted
                          5   or caused to be submitted to CMS, where the patient was not treated, by a qualified
                          6   provider, for that condition in the year in question, and/or the treatment and condition
                          7   are not properly documented in the medical record is a false and/or fraudulent claim
                          8   within the meaning of the FCA, so long as defendant knew that the claim was false
                          9   when it was submitted, or the defendant later discovered its falsity and refused to
                         10   correct the claim.
                         11           14.   The FCA allows any person having information about an FCA violation
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                         12   to bring an action on behalf of the United States, and to share in any recovery. The
                         13   FCA requires that the Complaint be filed under seal for a minimum of 60 days
                         14   (without service on the defendant during that time) to allow the government time to
                         15   conduct its own investigation and to determine whether to join the suit.
                         16           15.   Based on the foregoing laws, qui tam plaintiff Benjamin Poehling seeks,
                         17   through this action, to recover damages and civil penalties arising from the false or
                         18   fraudulent records, statements and/or claims that the Defendants made or caused to be
                         19   made in connection with false and/or fraudulent claims for Medicare Advantage and
                         20   Medicare Part D risk adjustment payments.
                         21   II.     PARTIES
                         22           A.    Plaintiffs
                         23           16.   Plaintiff-Relator Benjamin Poehling is an individual who, during the
                         24   relevant time period, was a resident of New Jersey until 2004, and subsequently a
                         25   resident of Minnesota. Poehling was hired by a division of UHG in 2002, having
                         26   previously performed consulting work for UHG while he was employed by Arthur
                         27   Andersen. At UHG and its divisions and subsidiaries, Relator held a variety of
                         28   positions, and had responsibilities including, without limitation, coordinating risk
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                          1   adjustment services, described in depth below. Relator’s employment with UHG
                          2   ended in December 2012.
                          3         17.     The United States, on whose behalf Relator brings this suit, is the real
                          4   party in interest. The United States has ongoing contracts with defendants through
                          5   CMS, in accordance with defendants’ participation in the Medicare and Medicaid
                          6   programs.
                          7         B.      Defendants
                          8         18.     Defendant UnitedHealth Group Inc. is a Delaware corporation
                          9   headquartered in Minnetonka, Minnesota. UnitedHealth Group, Inc. is the parent
                         10   corporation for a large number of businesses in two basic market areas. First,
                         11   UnitedHealthGroup, Inc. and its subsidiaries sell health insurance benefits including
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                         12   Medicare Advantage plans. Second, UnitedHealthGroup, Inc. and its subsidiaries
                         13   provide various health care services to consumers and the health care industry,
                         14   including its own affiliated health benefits companies. For purposes of this
                         15   Complaint, “UHG” and “United” refers to and includes UnitedHealth Group, Inc.,
                         16   those entities identified below, all subsidiaries and affiliates that do business with the
                         17   United States, and all UHG entities holding Medicare Advantage contracts with CMS
                         18   during the relevant time period.
                         19         19.     Defendant United HealthCare Services, Inc. is a Minnesota corporation
                         20   headquartered in Minnetonka, Minnesota, and is a direct subsidiary of UnitedHealth
                         21   Group, Inc.
                         22         20.     Defendant UnitedHealthcare, Inc., is a Delaware corporation
                         23   headquartered in Minnetonka, Minnesota, and is a direct subsidiary of United
                         24   HealthCare Services, Inc.
                         25         21.     Defendant UHIC Holdings, Inc., is a Delaware corporation, and is a
                         26   direct subsidiary of defendant United HealthCare Services, Inc. and an indirect
                         27   subsidiaryof defendant UHG.
                         28
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                         1          22.    Defendant Ovations, Inc. is a Delaware corporation headquartered in
                         2    Minnetonka, Minnesota, and is a direct subsidiary of United HealthCare Services, Inc.
                         3          23.    Defendants Optum, Inc. and OptumInsight, Inc. are Delaware
                         4    corporations headquartered in Eden Prairie, Minnesota, and are a direct subsidiaries of
                         5    United HealthCare Services, Inc. Upon information and belief, OptumInsight, Inc.
                         6    was formerly named Ingenix, Inc. and/or did business as Ingenix.
                         7          24.    UHG operates Medicare Advantage plans in all fifty states and the
                         8    District of Columbia. These managed healthcare insurance products, including
                         9    UHG’s Part C and D plan insurance products, are offered by it through various entities
                         10   that are direct and indirect subsidiaries of UnitedHealth Group, Inc. These entities,
                         11   defendants in this action, are listed on Attachment A to this complaint, which is
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                         12   incorporated herein by reference.
                         13         C.     Defendants’ Corporate Organization
                         14         25.    United’s health benefits business, UnitedHealthcare, sells health
                         15   insurance benefits in both public and private markets. United’s managed care division
                         16   for the private sector is UnitedHealthcare Employer & Individual (“UHEI”). United’s
                         17   managed care divisions for the public sector—Medicare and Medicaid—are UHMR
                         18   and UHCS. Together, UHMR and UHCS form United’s Public & Senior Markets
                         19   Group (“PSMG”). Within the health services business, now known as Optum, the
                         20   principal divisions are or have been Ingenix, renamed OptumInsight, which provides
                         21   data services and consulting; OptumHealth, which provides a variety of specialty and
                         22   ancillary services (such as dental and chiropractic benefits as well as acquiring
                         23   provider groups); and Prescription Solutions, now named OptumRx, a pharmacy
                         24   benefits manager. UHG reports revenue in four segments: (a) UnitedHealthcare
                         25   (UHEI, UHMR, and UHCS); (b) OptumHealth; (c) OptumInsight (formerly Ingenix);
                         26   and (d) OptumRx (formerly Prescription Solutions).
                         27         26.    United—through its UHMR and UHCS subsidiaries—is the largest
                         28   provider of health insurance coverage for Medicare beneficiaries pursuant to MA
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                         1    contracts with CMS. United operates MA plans in all fifty states and the District of
                         2    Columbia as set forth in Paragraph 24. These MA plans and United’s Part D plans
                         3    covered millions of enrolled MA beneficiaries. In 2013 and 2014, United had
                         4    approximately 3 million beneficiaries in its Part C plans and approximately 8 million
                         5    in its Part D plans. In 2014, United’s revenues from Parts C and D of the Medicare
                         6    Program were approximately $46 billion.
                         7          27.    United’s Ingenix division offers data and consulting services to United
                         8    companies as well as other insurance companies, hospitals, physicians, and others.
                         9    Ingenix’s revenues were $1.8 billion in 2009 and $2.3 billion in 2010, by 2014
                         10   Ingenix revenue has grown to over $5.2 billion. (Ingenix was renamed as
                         11   OptumInsight in 2011, but is referred to herein as Ingenix unless otherwise noted.)
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                         12   Historically, risk adjustment services were provided to UHMR through a team located
                         13   within the UHMR business unit. In 2007, United moved its risk adjustment services
                         14   group, or Clinical Assessment Solutions (“CAS”), to Ingenix. (CAS has changed
                         15   titles several times. It has also operated as Advanced Clinical Solutions (“ACS”),
                         16   Clinical Performance Solutions (“CPS”), and, currently, Clinical Performance &
                         17   Compliance (“CPC”).)
                         18         28.    Ingenix provided chart review services to United entities and other
                         19   parties, including but not limited to HealthNet. In addition, Ingenix submitted risk
                         20   adjustment data to Medicare and shared the responsibility with other United entities
                         21   for reporting invalid diagnoses to Medicare and returning overpayments to Medicare.
                         22         29.    Between October 2006 and March 2017, Medicare Part C beneficiaries
                         23   enrolled in UHG plans resided in the Central District of California for approximately
                         24   24,302,000 “person-months.” Each person-month equates to one month of a Part C
                         25   beneficiary’s enrollment in a United health plan.
                         26

                         27
                         28
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                              III.     JURISDICTION AND VENUE
                         1
                                       30.   This Court has jurisdiction over the subject matter of this action pursuant
                         2
                              to 28 U.S.C. § 1331 and 31 U.S.C. § 3732(a), which specifically confers jurisdiction
                         3
                              on this Court for actions brought under 31 U.S.C. § 3730.
                         4
                                       31.   This Court has personal jurisdiction over the Defendants, pursuant to 31
                         5
                              U.S.C. § 3732(a), as one or more Defendants can be found in, reside in, transact
                         6
                              business in, and have committed acts related to the allegations in this Complaint in the
                         7
                              Central District of California.
                         8
                                       32.   Venue is proper, pursuant to 31 U.S.C. § 3732(a) and 28 U.S.C. §
                         9
                              1391(b)–(c), as the Defendants can be found in, reside in, and/or transact business in
                         10
                              the Central District of California, and because many of the violations of 31 U.S.C. §
                         11
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                              3729 discussed herein occurred within this judicial district.
                         12

                         13   IV.      LEGAL BACKGROUND
                         14            A.    Medicare
                         15            33.   Medicare is a federally-funded health care program primarily serving
                         16   people age 65 or older. Initially created in Title XVIII of the Social Security Act of
                         17   1965, Medicare now has four Parts, A through D. The two original components of
                         18   Medicare are Part A, which covers inpatient hospital costs and related services, and
                         19   Part B, which covers outpatient health care costs, such as physicians’ fees.
                         20            34.   Traditionally, Medicare operates on a fee-for-service basis, meaning that
                         21   Medicare directly pays hospitals, physicians and other health care providers for each
                         22   service they provide to a Medicare beneficiary. Medicare beneficiaries are generally
                         23   required to pay some portion of many of these services in the form of copayments,
                         24   deductibles, coinsurance, or other set fees (collectively known as the members’ “out
                         25   of pocket” expenses).
                         26            35.   In 1997, Congress created Medicare Part C, which provides similar
                         27   benefits to Medicare members, but does so based on a managed care model, rather
                         28   than the traditional fee-for-service model. Under Part C, rather than pay providers
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                         1    directly, Medicare pays private managed care plans (later named “Medicare
                         2    Advantage” or “MA” plans) a capitation rate (per member per month) and those plans
                         3    are responsible for paying providers for the services they provide to members of that
                         4    specific MA plan.
                         5          36.    MA plans must provide Medicare beneficiaries benefits at least
                         6    equivalent to those they would have received under the traditional Medicare Parts A
                         7    and B. Depending on the structure of the plan, MA plans may also provide additional
                         8    benefits beyond what traditional Medicare would have covered, such as dental care, or
                         9    cover some or all of their members’ out of pocket expenses associated with basic
                         10   Medicare Parts A and B services.
                         11         37.    In 2003, Congress passed the Medicare Prescription Drug, Improvement,
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                         12   and Modernization Act, creating Medicare Part D which provides prescription drug
                         13   coverage. Although a limited number of Medicare Part D plans are operated under a
                         14   cost-reimbursement contract, the plans are generally financed under a managed care
                         15   model. These managed care model plans are provided under both Part D prescription
                         16   drug plans, which offer only prescription drug coverage, and Part C plans, which
                         17   integrate the prescription drug coverage with the traditional Part C health care
                         18   coverage.
                         19         38.    This Complaint refers, collectively, to Medicare Advantage plans with
                         20   and without Part D coverage, and stand-alone managed care Medicare Part D Plans as
                         21   “Medicare Advantage Plans” or “MA Plans.”
                         22         B.     Calculation of MA Plan Capitation Rates
                         23         39.    The capitation rates Medicare pays to MA plans are determined based on
                         24   a process involving consideration of past and expected future medical expenses, the
                         25   location of the plan’s actual and expected members, the health status and
                         26   demographics of those members and whether the plan will include any additional
                         27   benefits. That process is summarized in Medicare regulations as follows:
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                         1                 In short, under the bidding methodology each plan’s bid for
                         2                 coverage of Part A and Part B benefits (i.e., its revenue
                         3                 requirements for offering original Medicare benefits) is
                         4                 compared to the plan benchmark (i.e., the upper limit of
                         5                 CMS’ payment, developed from the county capitation rates
                         6                 in the local plan’s service area or from the MA regional
                         7                 benchmarks for regional plans). The purpose of the bid-
                         8                 benchmark comparison is to determine whether the plan
                         9                 must offer supplemental benefits or must charge a basic
                         10                beneficiary premium for A/B benefits.
                         11   Medicare Managed Care Manual (“MMCM”), ch. 8, § 60.
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                         12         40.    In other words, it is a three-step process involving: (a) development of
                         13   the MA plan’s bid rate; (b) review of the CMS benchmark rate; and (c) comparison of
                         14   those two rates to develop the base capitation rate and determine whether any
                         15   adjustments in the plan benefits or member premiums are required.
                         16         41.    First, the MA plan develops a bid rate. This rate is the amount that the
                         17   MA plan expects it will be required to pay to provide Medicare Parts A and B benefits
                         18   to a hypothetical average member of the plan. This estimate must be based on either
                         19   the MA plan’s prior experience covering Medicare members, or an actuarially
                         20   validated data analysis of expected costs. To represent an “average” plan member, the
                         21   bid rate must make adjustments to standardize the effect of expected geographic
                         22   diversity (because some areas are more expensive than others) and the relative health
                         23   status (i.e., the number and nature of chronic conditions) of the members whose
                         24   claims experience provided the basis for the bid. The bid rate also includes an amount
                         25   that the MA plan expects to spend on administrative costs, and a profit margin.
                         26         42.    The mechanism for standardizing the bid for individuals’ demographic
                         27   factors and health status is known as the “risk score.” It is an artificial score that CMS
                         28   assigns to every beneficiary. CMS starts with a score of zero, and then adds points for
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                         1    the beneficiary’s demographic condition (such as age and gender) and individual
                         2    disease states (such as diabetes or congestive heart failure). The average risk score is
                         3    one, with most Medicare beneficiaries having scores under three. The risk score
                         4    model is designed so that a population with an average risk score of two would be
                         5    expected to use twice as much health care (in dollars) as a population with a score of
                         6    one. The bid rate the MA plans develop must reflect the amount they will require to
                         7    provide services to a hypothetical population with a risk score of one.
                         8          43.    Second, the MA plan must review the Medicare benchmark rate provided
                         9    by CMS. This rate is the amount that the Medicare program would spend to provide
                         10   Parts A and B benefits to an average member in the geographic area covered by the
                         11   MA plan’s bid. The benchmark rate also includes several other adjustments, including
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                         12   until recently a bonus payment to incentivize health insurance companies to enter the
                         13   MA market.
                         14         44.    Third, the bid rate and the benchmark rate are compared to determine
                         15   whether the MA plan must charge its members a premium, or, instead, if it must offer
                         16   them enhanced benefits. If the bid rate is greater than the benchmark rate, Medicare
                         17   will only pay the MA plan the benchmark rate per member per month. That
                         18   benchmark rate becomes the base capitation rate that CMS pays the MA plan for a
                         19   member with a 1.0 risk score (described below). The MA plan must then charge the
                         20   beneficiaries who join its plan a monthly premium in order to make up the shortfall
                         21   between the bid rate and the base capitation rate. See MMCM, ch. 8, § 60.1.
                         22         45.    If, on the other hand, the bid rate is less than the benchmark rate, then the
                         23   bid rate becomes the base capitation rate. The difference between the benchmark rate
                         24   and the bid rate is then split between the MA plan and the Medicare program. The
                         25   first 25% of the difference is retained by the Medicare program as plan savings. The
                         26   remaining 75% is returned to the MA plan, which must use the rebate to either provide
                         27   enhanced benefits to its plan members or to cover the members’ out of pocket
                         28   expenses. In the end, then, in such situations, the base capitation rate equals the bid
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                         1    rate, plus the MA plan receives 75% of the difference between the bid rate and the
                         2    benchmark rate.
                         3          46.    Medicare does not, however, pay the plans the base capitation rate.
                         4    Instead, when payments are actually made, the base capitation rate is adjusted, for
                         5    each member, to reflect his or her actual age, gender, location, and, most important,
                         6    health status.
                         7          47.    MA plans must rebid their rates every year.
                         8          C.     Calculation of Part D Plan Capitation Rates
                         9          48.    The process of calculating the capitation rates for the Part D portion of
                         10   MA plans is very similar to the process used for the base portion of the MA rate.
                         11   Annually, the plan develops and submits a bid rate based on the plan’s estimate of the
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                         12   monthly revenue requirements it will require to provide qualified prescription drug
                         13   coverage for an average, eligible individual. 42 C.F.R. § 423.265(c). As for the base
                         14   MA rate, a Medicare prescription drug coverage plan’s average monthly bid rate is
                         15   adjusted to take into account the geographic differences in pricing and the relative
                         16   health status of the members on whom the bid calculation was based.
                         17         49.    The risk score calculations for the Medicare Part D portion of the plans
                         18   mirror the calculation for the basic MA rate, determined by each beneficiary’s
                         19   demographic information and health status. Each plan’s bid must reflect the revenue
                         20   the plan will require to provide services to a population of “average” members, i.e.,
                         21   those with a risk score equal to one.
                         22         D.     Risk Adjustment Depends on Accurate, Substantiated Health
                                           Condition Codes
                         23

                         24         50.    As described above, CMS pays MA plans at a capitation rate that reflects,
                         25   among other things, each member’s health status. The process of adjusting the
                         26   capitation rate to reflect a member’s disease states is known as risk adjustment. Risk
                         27   adjustment is intended to improve the accuracy of the payments CMS makes to these
                         28   plans. To this end, CMS pays a higher future premium for enrollees whom the MA
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                         1    plan represents have been treated for certain diseases and conditions in the current
                         2    year, based on the expectation that those enrollees will require treatment and/or
                         3    management for the conditions in the following year. See 2008 Risk Adjustment
                         4    Training for Medicare Advantage Organizations Participant Guide (“Participant
                         5    Guide”), at 6.4.1 (for purposes of this Complaint, “treatment” is defined as treatment
                         6    and management within the meaning of the Participant Guide).
                         7          51.    Conversely, CMS pays a lower premium for enrollees who, although they
                         8    may have certain typically expensive conditions, did not require care, treatment or
                         9    management for those conditions in the current year. For these patients, the risk
                         10   adjustment methodology assumes that because their condition did not require
                         11   treatment in the current year, it has improved or otherwise changed so that it is not
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                         12   expected to require treatment in the following year.
                         13         52.    As a practical matter, the CMS risk adjustment model evaluates enrollee
                         14   health (and establishes risk adjustment payment rates) using diagnosis classifications
                         15   set forth in the International Classification of Diseases, 9th Edition, Clinical
                         16   Modification (“ICD-9-CM”) system. The ICD-9 system assigns each diagnosis a
                         17   specific code. Under the MA model, these individual diagnosis codes are then
                         18   organized into groups, called Hierarchical Condition Categories (“HCCs”). MMCM,
                         19   ch. 8, § 50. (All HCC numbers and titles referenced in this complaint are in keeping
                         20   with the CMS V12 model used between 2004 and 2013. In 2014, CMS began using
                         21   the V22 model, which changed several of the HCC numbers and titles.) Every HCC
                         22   consists of several ICD-9-CM diagnosis codes that are clinically related and are
                         23   expected to require a similar level of resources to treat. Id. For example, there are
                         24   five HCCs for patients with diabetes: HCC 15 (diabetes with renal or vascular
                         25   manifestation); HCC 16 (Diabetes with Neurologic or Other Specified Manifestation);
                         26   HCC 17 (Diabetes with Acute Complications); HCC 18 (Diabetes with
                         27   Ophthalmologic or Unspecified Manifestation); and HCC 19 (Diabetes without
                         28   Complication). Generally speaking, patients grouped in HCC 15 have the most
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                         1    serious manifestations associated to their diabetes, and are expected to cost the most to
                         2    treat. Patients in HCC 19 have the least cost-intensive type of diabetes, and therefore
                         3    the CMS risk adjustment system provides a smaller enhanced payment for these
                         4    patients.
                         5          53.    CMS has used the same model for the Part D portion of risk adjustment.
                         6    However, because certain diagnoses will be expected to increase liability for
                         7    prescription drugs covered under Part D, but not hospital costs and physician fees
                         8    covered under Part C, and vice versa, a distinct list of Hierarchical Condition
                         9    Categories (“RxHCCs”) with corresponding diagnosis codes was created for
                         10   Medicare’s Part D risk adjustment. See Participant Guide at 8.2.5.2. For example,
                         11   RxHCC 75 represents Attention Deficit Disorder, a condition predicted to increase
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                         12   drug spending. However, because Attention Deficit Disorder is unlikely to result in
                         13   hospitalization, RxHCC 75 has no corresponding HCC. On the other hand, HCC 77,
                         14   Respirator Dependence/ Trachostomy Status, a condition category predictive of
                         15   Medicare Part C medical costs, but not necessarily predictive of Part D drug expenses,
                         16   has no RxHCC equivalent.
                         17         54.    Although the HCC and RxHCC systems are not identical, they do have
                         18   significant overlap. Certain HCCs have equivalent RxHCCs, meaning that the
                         19   condition categories consist of identical ICD-9-CM diagnosis codes. For example,
                         20   HCC 5 (Opportunistic Infections) is equivalent to RxHCC 2 (Opportunistic
                         21   Infections), and HCC 37 (Bone/Joint/Muscle Infections/Necrosis) is the equivalent of
                         22   RxHCC 39 (Bone/Joint/Muscle Infections/Necrosis). Even where they are not
                         23   identical, most HCCs overlap with one or more RxHCCs. For example, of the thirty-
                         24   seven diagnosis codes that fall within HCC 45 (Disorders of Immunity), twenty-seven
                         25   fall within RxHCC 52 (Disorders of Immunity), seven fall within RxHCC 51 (Severe
                         26   Hematological Disorders), and three do not fall within any RxHCCs. Thus, the
                         27   majority of ICD-9-CM diagnosis codes that capture an HCC will also capture an
                         28   RxHCC.
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                         1          55.    An individual ICD-9-CM code included in the HCC system for a
                         2    particular member corresponds on average to nearly $3,000 in extra revenue for the
                         3    plan over the course of the following year for that member. So, for example, if a MA
                         4    plan like United with 2.1 million members submitted just one incremental HCC-based
                         5    diagnosis code per member to CMS, it would result in approximately $6.3 billion in
                         6    additional capitation payments from CMS.
                         7          56.    Because submitting incorrect diagnosis codes increases risk adjustment
                         8    payments, CMS requires MA plans to follow strict guidelines when submitting codes.
                         9    See, e.g., 2008 Risk Adjustment Training for Medicare Advantage Organizations
                         10   Participant Guide.
                         11         57.    CMS requires that the patient must have been treated for the relevant
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                         12   diagnoses during a face-to-face encounter with an eligible provider, such as a
                         13   physician, physician extender, or hospital, during the year in question.
                         14         58.    Only services provided by an eligible provider type may be included.
                         15   CMS expressly prohibits MA plans from submitting “risk adjustment diagnoses based
                         16   on any diagnostic radiology services” or laboratory services. Participant Guide, at
                         17   3.2.2, 4-3. The reason CMS prohibits MA plans from submitting codes based on
                         18   radiology charts, for example, is that “[d]iagnostic radiologists typically do not
                         19   document confirmed diagnoses. Confirmed diagnoses come from referring physician
                         20   or physician extenders.” Id., at 4-3 (emphasis added). Because radiologists generally
                         21   list on their charts the diagnoses a doctor wants them to look for, not which diagnoses
                         22   the patient actually has, CMS excludes radiology services as a valid provider type
                         23   (i.e., source of risk adjustment data).
                         24         59.    The treating provider must document the facts supporting the coded
                         25   diagnosis in the patient’s medical record and sign and date the record. At a minimum,
                         26   the plan must record five elements for submission to CMS:
                         27                a.      the member’s Health Insurance Claim (“HIC”) number;
                         28                b.      the ICD-9-CM diagnosis code;
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                         1                 c.       the “service from” date;
                         2                 d.       the “service through” date; and
                         3                 e.       the provider type.
                         4          60.    MA plans are responsible for the content of risk adjustment data
                         5    submissions to CMS, regardless of whether they submit the data themselves or
                         6    through an intermediary. Participant Guide, at 3-13. Before submitting data to CMS,
                         7    MA plans are required to filter the data “to ensure that they submit data from only
                         8    appropriate data sources.” Participant Guide, at 4-11. For example, filters should
                         9    include checking that physician data comes from face-to-face encounters with patients
                         10   and ensuring that data does not come from non-covered providers, such as diagnostic
                         11   radiology services.
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                         12         61.    MA plans that filter risk adjustment claims by CPT codes must also filter
                         13   the data to ensure that only diagnoses treated through approved procedure types are
                         14   included. Id. at 4-11. MA organizations typically classify professional (e.g.,
                         15   physician) procedures using Current Procedural Terminology (“CPT”) codes and
                         16   institutional procedures using revenue codes. These codes show whether the type of
                         17   service in question was a face-to-face procedure such as a physical examination, or a
                         18   non-qualifying remote procedure, such as a laboratory test or radiology exam.
                         19         62.    MA plans are required to correct the risk adjustment data they submit to
                         20   CMS. When the MA plan learns that information in a risk adjustment claim (i.e., HIC
                         21   number, diagnosis code, service dates, and provider type) contains an error, it must
                         22   submit a “delete record” to CMS for that claim.
                         23         63.    CMS also requires that diagnosis codes used as the basis for a risk
                         24   adjustment claim be substantiated through documentation in a medical record. Upon
                         25   request by CMS, MA plans must provide documentation to support each diagnosis
                         26   and substantiate that the provider followed proper coding guidelines. Id. at 6-5; 5-52.
                         27         64.    In general, CMS sets risk scores based on risk adjustment data submitted
                         28   for services provided during the year preceding the payment year. 42 C.F.R. §§
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                         1    422.310(g), 423.329(b)(3). The annual deadline for submitting risk adjustment data to
                         2    CMS is in early September. Id. The data submitted by the September deadline
                         3    determines members’ preliminary risk scores for the following year.
                         4          65.    Despite the September deadline, CMS accepts submissions of risk
                         5    adjustment data for a period after the end of service year and, through a reconciliation
                         6    process, adjusts its payments to the MA plan retroactively to account for codes
                         7    submitted after the September deadline. MA plans are allowed to submit risk
                         8    adjustment data until after the end of the payment year. After the payment year ends,
                         9    CMS recalculates the risk score for any members for whom the MA plan made a
                         10   retroactive submission.
                         11         66.    Thus, for example, the capitation rates for 2010 are based on the MA
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                         12   plans’ members’ health status (diagnosis codes) from 2009. The initial submission
                         13   deadline for the 2009 diagnosis codes was September 4, 2009, and the final
                         14   submission deadline was January 31, 2011. Thus, CMS calculated members’ initial
                         15   risk factors for 2010 based on the September 4, 2009 data, but MA plans were allowed
                         16   to continue to submit 2009 diagnoses until January 31, 2011. After that date, for
                         17   every member with a newly-submitted diagnosis, CMS recalculated the risk score and
                         18   reconciled the member’s payments in 2010 with the amount it would have paid at the
                         19   new score.
                         20         67.    To test the validity of MA plan risk adjustment data, CMS conducts Risk
                         21   Adjustment Data Validation (“RADV”) audits after the MA plan’s final deadline for
                         22   submitting risk adjustment data for the payment year. During such audits, CMS
                         23   “validates” some of the MA plan’s HCC scores by reviewing the medical records that
                         24   the plan contends support the claimed diagnosis codes. Id. at 7-1. To facilitate the
                         25   RADV audits, MA plans are required to submit to CMS medical records and
                         26   coversheets for each sampled enrollee, including the “one best medical record”
                         27   supporting each HCC. Id. at 7-9.
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                         1          68.    Historically, CMS has not extrapolated RADV audit results to the plan as
                         2    a whole. (CMS has recently proposed moving toward extrapolation of RADV
                         3    results.) Instead, CMS has merely sought repayment for those risk adjustment claims
                         4    found to be false during the RADV audit. Because RADV audits generally used
                         5    relatively small samples—a few hundred risk adjustment claims—the potential risk to
                         6    MA plans, should they be found to have submitted false risk adjustment claims, has
                         7    been relatively small. Without meaningful financial penalties, MA organizations have
                         8    generally seen little incentive to conform to CMS’s risk adjustment rules. The
                         9    fraudulent practices described in this Complaint are a product of the belief, common
                         10   among MA organizations, that the law could be violated without meaningful
                         11   consequence.
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                         12         E.     CMS Requires MA Plans To Certify the Validity of Their Bid Rates
                                           and Risk Adjustment Data To Prevent Fraud
                         13

                         14         69.    In recognition of the fact that the integrity of the capitation rates depends
                         15   on the integrity of the actuarial information used by the MA plans in developing their
                         16   bid rates, and to otherwise guard against fraud, CMS requires MA organizations to
                         17   submit three separate attestations, each signed by the CEO or CFO (or their
                         18   authorized, direct subordinate). These attestations are a condition that the MA plans
                         19   must meet to be eligible to receive any capitation payments from CMS.
                         20         70.    The first attestation, which the MA organization submits on a monthly
                         21   basis, requires the MA organization to “attest based on best knowledge, information,
                         22   and belief that each enrollee for whom the MA Organization is requesting payment is
                         23   validly enrolled, or was validly enrolled during the period for which payment is
                         24   requested, in an MA plan offered by the MA Organization.”
                         25         71.    The second attestation, which is submitted annually, requires the MA
                         26   organization to attest that the risk adjustment data it submits annually to CMS is
                         27   “accurate, complete, and truthful.” The attestation acknowledges that risk adjustment
                         28   information “directly affects the calculation of CMS payments . . . and that
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                         1    misrepresentations to CMS about the accuracy of such information may result in
                         2    Federal civil action and/or criminal prosecution.” The regulations also provide that if
                         3    the claims data are generated by a “related entity, contractor, or subcontractor of an
                         4    MA organization,” that entity must similarly certify the “accuracy, completeness, and
                         5    truthfulness of the data.” 42 C.F.R. §422.504(l)(2).
                         6          72.    The third attestation is the MA organization’s certification “that the
                         7    information and documentation comprising the bid submission proposal is accurate,
                         8    complete, and truthful and fully conforms to the Bid Form and Plan Benefit Package
                         9    requirements; and that the benefits described in the CMS-approved proposal bid
                         10   submission agree with the benefit package the MA Organization will offer during the
                         11   period covered by the proposal bid submission.”
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                         12         73.    MA organizations must also submit bid submission attestations,
                         13   certifying “that the information in its bid submission and assumptions related to
                         14   projected reinsurance and low income cost sharing subsidies is accurate, complete,
                         15   and truthful and fully conforms to the [bid submission regulations].”
                         16         F.     The False Claims Act Contains a Duty to Correct Known Errors
                         17         74.    The False Claims Act contains an independent requirement to correct
                         18   errors that will cause, or have caused, a government overpayment. The Act attaches
                         19   liability to anyone who knowingly makes, uses, or causes to be made or used, a false
                         20   statement or record material to an obligation to pay or transmit money to the
                         21   government, or who knowingly conceals or knowingly and improperly avoids or
                         22   decreases an obligation to pay or transmit money to the government. 31 U.S.C. §
                         23   3729(a)(1)(G).
                         24         75.    Accordingly, MA plans not only have a duty not to submit incorrect data
                         25   to CMS, but also, for data they have already submitted, must delete the records from
                         26   CMS’s database using a “delete code.”
                         27
                         28
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                              V.       UNITEDHEALTH GROUP
                         1
                                       76.   United is the largest provider of MA plans nationwide, covering benefits
                         2
                              under Medicare Parts C and D in all fifty states and in most U.S. territories. United
                         3
                              had 6.8 million individuals enrolled in its MA plans (Part C and Part D) at the end of
                         4
                              2010. The MA plans are operated by UHMR and UHCS and offered to Medicare
                         5
                              beneficiaries under such brand names as, for example, SecureHorizons, AmeriChoice,
                         6
                              Evercare, AARP MedicareRx and UnitedHealth Rx.
                         7
                                       77.   United has expanded rapidly since its founding in 1977. The company’s
                         8
                              growth in recent years has been driven by acquisitions, nowhere more so than in its
                         9
                              Medicare business. These acquisitions included the 2004 purchase of Oxford Health
                         10
                              Plans, the 2005 acquisition of PacifiCare Health Systems, and the 2007 acquisition of
                         11
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                              Sierra Health Services, Inc.
                         12
                                       78.   Recently, United has also been expanding vertically by acquiring
                         13
                              provider groups who care for many of the patients in United’s MA plans. Foremost
                         14
                              among these purchases was the 2011 purchase of WellMed, a large physician-owned
                         15
                              practice management company located primarily in Texas.
                         16
                                       79.   United has organized its businesses into two primary segments: health
                         17
                              plans and health services, as described above. See ¶¶25-28. Within the health
                         18
                              services segment, Ingenix provides risk adjustment services (and other services) to
                         19
                              United’s MA plans and also sells those same services commercially to other MA
                         20
                              plans.
                         21
                                       80.   Ingenix submits or previously submitted diagnosis codes for risk
                         22
                              adjustment to CMS on behalf of UHMR and UHCS as well as on behalf of
                         23
                              commercial clients including, for example, Health Net, Arcadian, Tufts, and Medica.
                         24
                              United relocated its risk adjustment team from UHMR to Ingenix to enable these
                         25
                              commercial deals, as well as to allow UHMR and UHCS to charge their risk
                         26
                              adjustment costs with markups to CMS on their annual bids. This risk adjustment
                         27
                              team was based in Orange County, California.
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                         1          81.    At every level, United is driven by a corporate culture that demands and
                         2    rewards financial success from its employees. The risk adjustment practices described
                         3    in this Complaint are attributable in large part to these demands and rewards. As to
                         4    demands, United evaluated many of its employees, including Relator, until recently on
                         5    their success at “maximizing revenue” by increasing risk scores. United gave Relator
                         6    as well as clinical staff specific goals for increasing risk scores. Relator’s March 30,
                         7    2008 review, for example, evaluated him against United’s “business goal” of
                         8    increasing risk scores by 3%. There were no similar performance goals for the overall
                         9    accuracy of risk adjustment submissions. Nor was there any accountability assigned
                         10   for reducing the number of false claims submitted to CMS.
                         11         82.    For rewards, United tied its performance incentives directly to risk score
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                         12   increases. These incentives have been at the center of United’s risk adjustment
                         13   practices. Relator, for example, received a $15,000 bonus in 2010 for his work to
                         14   meet UHMR’s target of $100 million in additional internal operating income (“IOI”)
                         15   from risk adjustment payments. His bonus, however, paled in comparison to the
                         16   incentives offered to those higher up in the company. Optum CEO (and former CEO
                         17   of UHMR) Larry Renfro received a compensation package in 2010 that included a
                         18   potential bonus, called a “cash incentive award,” which tied his earnings to revenue,
                         19   IOI, and provider satisfaction. Increasing risk scores met all three objectives. Mr.
                         20   Renfro’s 2010 cash incentive award was $900,000—150% of his bonus target. In
                         21   2011, Mr. Renfro received a $1.4 million cash incentive award, which was made in
                         22   consideration of his “successful execution of a major multi-track Medicare
                         23   remediation initiative,” of which increasing United’s risk score was a substantial
                         24   component.
                         25         83.    During Mr. Renfro’s term as UHMR’s CEO, UHMR set revenue and IOI
                         26   targets based on risk adjustment and entered into agreements with providers that
                         27   offered financial rewards for increasing risk scores. As discussed below, many of the
                         28   policies and practices United used to achieve these goals were fraudulent. Despite
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                         1    misgivings expressed by various United personnel, however, United took no action to
                         2    stop its misconduct. Lack of independence contributed to the problem. For example,
                         3    PSMG’s Chief Compliance Officer, David Orbuch, reported not to the Board of
                         4    Directors, but to Mr. Renfro.
                         5          84.    United aligned the incentives of its entities, staff, and vendors to increase
                         6    risk scores. Ingenix had an incentive to increase the number of risk adjustment claims
                         7    (based on incremental/newly-found diagnosis codes) it submitted to CMS for payment
                         8    under the terms of its Service Level Agreement with UHMR. The Agreement
                         9    provided for base payments plus a significant “incentive fee” tied to risk score
                         10   increases. Exhibit 1, incorporated herein.
                         11         85.    In 2009, United changed to a more fixed-fee arrangement with Ingenix.
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                         12   Ingenix, however, continues to receive incentive fees based on risk score increases
                         13   from at least one of its commercial clients, Health Net.
                         14         86.    In addition, the managers responsible for Ingenix’s Orange County based
                         15   risk adjustment program (now called CPC), including Jeff Dumcum, Paul Bihm, and
                         16   Stephanie Will, had employment agreements with United that included financial
                         17   incentives based on increased risk scores. Furthermore, United gave incentives to its
                         18   healthcare providers and vendors. As described below, for example, United
                         19   (PacifiCare at the time) entered into an agreement with WellMed, such that
                         20   WellMed’s data subsidiary, DataRap, would provide risk adjustment services for a
                         21   subset of United’s MA plan in Dallas, Texas. The agreement paid WellMed a fee
                         22   based almost entirely on the increase in United’s risk score year over year.
                         23         87.    United’s senior management push relentlessly to increase United’s
                         24   revenue from risk adjustment. Tellingly, UHMR has assigned risk adjustment to its
                         25   Finance Department, not one of its clinical departments. (Relator was assigned to his
                         26   job despite having no clinical background.) In 2010 and 2011, UHMR has
                         27   implemented projects referred to as “remediation plans”, “focus area projects,” or
                         28   “affordability agendas” to increase IOI.
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                         1            88.   The remediation plan for 2010 called for $800 million in additional IOI,
                         2    $100 million of which was to come from increased risk adjustment revenue. In 2011,
                         3    the additional IOI target from risk adjustment rose to approximately $125 million.
                         4            89.   While speaking at the Citi 2011 Global Healthcare Investor conference
                         5    on March 2, 2011, UHMR’s CEO, Tom Paul, commented that United’s 2010
                         6    affordability agenda allowed United to not raise premiums or cut benefits, while still
                         7    achieving business objectives. He went on to say the affordability agenda will
                         8    continue in 2011 and beyond. These remediation plans are merely United’s latest
                         9    effort to exploit risk adjustment’s large revenue potential. As described below, United
                         10   has engaged in a course of conduct since at least 2006 to maximize its risk adjustment
                         11   payments from CMS. For much of the past decade, United’s attitude may be
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                         12   summarized by an email from former UHMR CFO Jerry Knutson to Ingenix’s Jeff
                         13   Dumcum, then based in Orange County, California:
                         14                 Wanted to get together with you and discuss what we can do
                         15                 in the short term and long term to really go after the
                         16                 potential risk scoring you have consistently indicated is out
                         17                 there. . . . You mentioned vasculatory disease opportunities,
                         18                 screening opportunities, etc with huge $ opportunities. Lets
                         19                 turn on the gas!
                         20   Exhibit 2, incorporated herein.
                         21   VI.     DEFENDANTS’ FRAUD AGAINST THE UNITED STATES
                         22           A.    United Knowingly Submits, and Causes To Be Submitted, False Risk
                                            Adjustment Claims and Fails to Correct Previously-Submitted False
                         23                 Risk Adjustment Claims
                         24                 1.    United Upcodes Risk Adjustment Claims
                         25           90.   As outlined below, since at least 2006, Defendants have engaged in a
                         26   deliberate scheme to defraud the United States by submitting tens or hundreds of
                         27   thousands of false claims for risk adjustment payments. Defendants submitted these
                         28   false claims even though they knew that the patients upon whom the claims were
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                         1    based did not have the claimed diagnoses, had not been treated for those diagnoses in
                         2    that year, or were otherwise ineligible for risk adjustment payments under CMS rules.
                         3          91.    Defendants routinely “upcoded” the risk adjustment claims they
                         4    submitted to Medicare, claiming that a patient had been treated, in the relevant time
                         5    period for: (a) a diagnosis that the patient did not have; (b) a more severe diagnosis
                         6    than the one the patient had; and/or (c) a diagnosis that the patient may have
                         7    previously been treated for, but which was not treated in the relevant year.
                         8          92.    Defendants engaged in the upcoding both directly, by creating documents
                         9    to use to submit the risk adjustment claims themselves, or indirectly by paying,
                         10   encouraging or otherwise convincing physicians, hospitals or others to submit
                         11   upcoded data to Defendants, which upcoded data Defendants then used to submit risk
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                         12   adjustment claims.
                         13         93.    Defendants also refused to correct previously submitted risk adjustment
                         14   claims even though the Defendants knew, or should have known, that those claims
                         15   were false. Defendants were on notice that certain individual risk adjustment claims
                         16   or certain classes of claims were potentially or likely false, but nonetheless submitted
                         17   them without attempting to ensure their accuracy.
                         18         94.    In this manner, Defendants have fraudulently caused CMS to pay tens or
                         19   hundreds of thousands of false claims for risk adjustment payments worth at least
                         20   hundreds of millions of dollars.
                         21         95.    UHG engages in an aggressive and extensive effort to find a justification
                         22   or pretext to submit risk adjustment claims for additional diagnoses—regardless of
                         23   whether the patient had or was actually treated for the diagnosis in the relevant period
                         24   by a qualifying provider. United’s program has some components that are broad-
                         25   based, and others that target specific high value HCCs. As an overall goal, UHG
                         26   attempts to reach each of its members at least once every two years through one of its
                         27   programs designed to find additional risk adjustment claims.
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                         1          96.    United runs multiple programs designed to identify additional HCCs for
                         2    submission to CMS to increase its risk scores, including: (a) reviewing medical charts,
                         3    (b) paying physicians bonuses for submitting paperwork to support claims for
                         4    additional diagnosis codes, (c) sending physicians forms identifying conditions that
                         5    United suspects the patient has, and (d) initiatives designed to get patients to visit their
                         6    doctors each year for the purpose of being “treated” for high value diagnoses.
                         7          97.    These programs are designed with one primary goal – to increase UHG’s
                         8    Medicare risk adjustment reimbursement. Accuracy of the claims is, at best, a
                         9    secondary concern.
                         10         98.    United has used its programs to promote increased coding of numerous
                         11   HCCs that United knows are regularly submitted by providers when those providers
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                         12   should have submitted a less severe HCC code or no code at all. Notwithstanding this
                         13   knowledge, United not only refuses, beyond a limited audit sample, to confirm the
                         14   accuracy of these codes when submitted, but actually pushes chart reviewers,
                         15   physicians, and others to code for these problematic HCCs more often. United calls
                         16   them “undercoded” HCCs.
                         17         99.    Some examples of such HCCs that United knows are over-coded, but still
                         18   encourages reviewers and providers to increase coding for include, but are not limited
                         19   to, HCC 7 (Metastatic Cancer and Acute Leukemia), HCC 8 (Lung, Upper Digestive
                         20   Tract, and Other Severe Cancers), HCC 9 (Lymphatic, Head and Neck, Brain, and
                         21   Other Major Cancers), HCC 10 (Breast, Prostate, Colorectal and Other Cancers and
                         22   Tumors), HCC 15 (Diabetes with Renal or Peripheral Circulatory Manifestation),
                         23   HCC 16 (Diabetes with Neurological or Other Specified Manifestation), HCC 18
                         24   (Diabetes with Ophthalmologic or Unspecified Manifestation), HCC 19 (Diabetes
                         25   without Complication), HCC 21 (Protein-Calorie Malnutrition), HCC 51
                         26   (Drug/Alcohol Psychosis), HCC 52 (Drug/Alcohol Dependence), HCC 55 (Major
                         27   Depressive, Bipolar, and Paranoid Disorders), HCC 69 (Spinal Cord
                         28   Disorders/Injuries), HCC 71 (Polyneuropathy), HCC 80 (Congestive Heart Failure),
                                                            - 29 -
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                         1    HCC 82 (Unstable Angina and Other Acute Ischemic Heart Disease), HCC 92
                         2    (Specified Heart Arrhythmias), HCC 96 (Ischemic or Unspecified Stroke), HCC 105
                         3    (Vascular Disease), HCC 108 (Chronic Obstructive Pulmonary Disease), HCC 108
                         4    (Chronic Obstructive Pulmonary Disease), HCC 112 (Pneumococcal Pneumonia,
                         5    Empyema, Lung Abscess), HCC 131 (Renal Failure), HCC 132 (Nephritis), and HCC
                         6    155 (Vertebral Fractures w/o Spinal Cord Injury).
                         7          100. United trains and otherwise encourages its chart reviewers to identify
                         8    diagnoses that do not qualify for risk adjustment claims. Chart reviewers are
                         9    encouraged to look beyond members’ provider-reported diagnoses and identify
                         10   diagnoses from supplementary data in the medical records. United submits these
                         11   additional diagnoses without seeking any confirmation from the appropriate providers.
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                         12         101. For example, in January 2009, a representative of the University
                         13   Physician’s Network (“UPN”) emailed United’s executives to inform them that,
                         14   because of Ingenix’s illegal practices, UPN was terminating its plan to assist United
                         15   with the collection of diagnosis information. The email explained that Ingenix’s chart
                         16   review methods result in the submission of diagnoses that were not certified by, and
                         17   may not be supported by the treating physician. The UPN representative reported that
                         18   Ingenix’s staff attempted to assure him that the practice was legal, but that research
                         19   and consultation with others confirmed that Medicare regulations do not permit a
                         20   “non-treating [provider]…submitting data for the purpose of increasing the
                         21   compensation to United from Medicare.”
                         22                      a.     Chart Review
                         23         102. As described above, the vast majority of the information United uses as
                         24   the basis for its risk adjustment claims comes initially from physicians, hospital or
                         25   other providers in the form of claims data or other submissions. These sources are
                         26   secondary to the primary records those providers hold—namely the patients’ medical
                         27   records, also known as charts.
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                         1          103. As is common with secondary sources, the claims data and other
                         2    information United receives from providers is known to have some (and at times
                         3    many) errors—even when providers make good faith efforts to submit only accurate
                         4    information.
                         5          104. For example, in some cases, the claims data does not include all of the
                         6    diagnosis codes that it should. Providers often fail to document all diagnoses that
                         7    were treated, because, historically, complete reporting of all treated diagnosis codes
                         8    was generally not essential for reimbursement.
                         9          105. In other cases, the claims data erroneously indicates a patient was treated
                         10   for a certain diagnosis. Sometimes this happens because of mere clerical error, but
                         11   often it is the result of limitations in claims processing computer systems or a
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                         12   misunderstanding by coding personnel of the proper coding rules. For example,
                         13   coders sometimes indicate that a patient was treated for a certain diagnosis, where, in
                         14   fact, the patient only had a history of past treatment for the diagnosis, or the patient
                         15   was tested to see if they had that diagnosis.
                         16         106. Moreover, there are routinely situations where the coding personnel
                         17   correctly identify the patient as having been treated for a certain diagnosis, but make a
                         18   mistake as to how severe the patient’s illness is. Thus, the coders may either overstate
                         19   or understate the severity of the diagnosis.
                         20         107. United’s chart review program is designed to directly review the original
                         21   documents—the patient medical records held by the providers—to correct these
                         22   known problems.
                         23         108. Because United has a duty to submit accurate data, and it knows that the
                         24   claims data contains substantial errors, it has a dual responsibility when conducting
                         25   these reviews: it should verify that already-submitted codes are accurate and
                         26   documented while it looks for codes that should have been, but were not, submitted to
                         27   CMS. However, as detailed below, United fails to meet his obligation to identify and
                         28   correct previously submitted, but erroneous risk adjustment claims.
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                         1           109. Ingenix conducts chart reviews on behalf of UHMR, UHCS, and
                         2    commercial clients. In the retrospective chart review process, Ingenix identifies
                         3    provider charts to review and arranges for the charts to be collected. It uses both
                         4    internal coders and also contracts with external vendors to review and code the charts.
                         5           110. These vendors review charts using a blind review. In a blind review, the
                         6    reviewer codes every condition he or she identifies from the chart without knowing
                         7    what codes the provider identified from the chart previously. Thus, the reviewer
                         8    works from the raw chart material and reaches independent conclusions.
                         9           111. Ingenix conducts chart reviews provider-by-provider. For each provider,
                         10   members are selected for review, with a priority placed on members who have not
                         11   been reviewed in the past year and members whom United believes may have a risk
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                         12   adjusting condition that has not been reported to CMS. Following every provider
                         13   review, the reviewer submits the diagnosis codes it found to Ingenix.
                         14          112. Ingenix defrauds CMS by acting on chart review data in two very
                         15   different ways: it acts on the missed codes by submitting risk adjustment claims to
                         16   CMS, but takes no action on the incorrect codes.
                         17          113. When it receives the data from the reviewer, listing the diagnosis codes
                         18   found during the review, Ingenix inputs the list into IRADS, its risk adjustment
                         19   database (discussed in greater detail below). IRADS’ design adds the reviewer’s
                         20   codes to the codes already in the system (i.e., the provider’s codes) like pouring
                         21   additional water into a bucket.
                         22          114. For codes the reviewer coded but the provider did not code, IRADS will
                         23   add a new entry. If this is a newly discovered diagnosis code for that patient—
                         24   meaning no other provider had also reported treating the patient for that diagnosis
                         25   during that time period—Ingenix will then submit a new risk adjustment claim to
                         26   CMS.
                         27          115. Ingenix could easily perform a comparable comparison to look for over-
                         28   coded diagnosis codes. Using either the data available from the chart reviewers or
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                         1    readily available additional information, Ingenix could determine whether a diagnosis
                         2    code contained in IRADS was absent from the patient’s medical record for that given
                         3    provider. Ingenix, however, refuses to take any steps (other than an extremely limited
                         4    program described below) to determine whether the chart review data has identified
                         5    over-coded claims.
                         6          116. For situations where an existing code (e.g., one a provider had submitted
                         7    with its claims data) was not validated by the reviewed provider’s medical records by
                         8    the reviewers, IRADS does nothing. No effort is made to find other support for the
                         9    diagnosis code or to delete from the IRADS system any claims that suggested the
                         10   reviewed provider had treated the patient for the non-validated diagnosis.
                         11         117. United has also found high error rates in diagnoses identified by a former
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                         12   external chart review vendor, Outcomes, Inc., but, beyond a limited audit sample,
                         13   United has not reviewed the vendor’s work in order to determine the extent of CMS’s
                         14   overpayment for the vendor’s erroneous diagnoses.
                         15         118. Chart reviews have been lucrative for United. For 2006 dates of service,
                         16   the first year of fully phased-in risk adjustment, United’s return on investment
                         17   (“ROI”) from chart reviews was 15 to 1. Exhibit 3, page 12, incorporated herein.
                         18   United spends approximately $30 for each chart it reviews but receives an average of
                         19   $450 per chart in additional CMS payments for the new codes it submitted. Id.
                         20         119. Relator believes that even if United properly conducted chart review—
                         21   “looking both ways” for both helpful and harmful errors—United would still earn
                         22   substantially more in newly found codes than it lost by correcting erroneous codes.
                         23   However, United has steadfastly refused to take anything more than token steps to
                         24   “look both ways.”
                         25         120. Unsurprisingly, UHMR and Ingenix have emphasized performing as
                         26   many chart reviews as possible. UHMR reviewed approximately 600,000 charts in
                         27   2006 and approximately 600,000 in 2007. See Exhibit 3. On information and belief,
                         28   Ingenix reviewed between 600,000 and 800,000 charts in 2008. In 2009, Ingenix
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                         1    reviewed approximately 800,000 charts. Exhibit 4, pages 8 and 22, incorporated
                         2    herein. United’s only limitation in the number of charts it can review is its providers’
                         3    dislike of the disruptions the reviews cause to their practices.
                         4             121. In 2010, United’s senior executives set a target for United’s risk
                         5    adjustment programs to generate an additional $100 million in internal operating
                         6    income (“IOI”) above and beyond what was originally targeted. For 2011, United’s
                         7    incremental IOI target for risk adjustment is $125 million. Chart reviews are an
                         8    important part of United’s strategy for realizing this additional IOI. United’s senior
                         9    executives are fully aware that the company “looks one way” during chart reviews.
                         10   See ¶¶172-178.
                         11                        b.     Patient Assessment Forms
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                         12            122. In addition to the chart review program, which involves broad review of
                         13   the provider medical records, United has several initiatives which are targeted to a
                         14   specific subset of patients or providers. As with the chart review program, these other
                         15   initiatives are designed to “look” just one way—seeking only to add incremental
                         16   codes and ignoring evidence that previously submitted risk adjustment claims may be
                         17   false.
                         18            123.   United’s Patient Assessment Forms (“PAF”) program targets suspected
                         19   undercoded conditions, such as certain chronic conditions that a provider or group has
                         20   coded less frequently than their prevalence rates would indicate. For these conditions,
                         21   such as diabetes and chronic kidney disease (“CKD”), Ingenix mines patient data for
                         22   episodes in which a patient with a chronic condition has not been treated for a
                         23   diagnosis during the payment year.
                         24            124. The PAF program also identifies target patients by looking for situations
                         25   where a patient filled a prescription for a drug that suggests the patient has a given
                         26   diagnosis, or engages in a behavior (e.g., smoking) that suggests a risk adjustment
                         27   eligible diagnosis may be present.
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                         1           125. Ingenix prepares a form for these target patients and sends the form to
                         2    their doctor, so he or she can “treat” the patient for that condition. For example, if a
                         3    provider diagnosed a member with diabetes in 2008 and 2009 but not 2010, Ingenix
                         4    would send the provider a PAF and ask the provider to check the member for diabetes.
                         5           126. Ingenix pays providers a fee to encourage them to consult PAFs when
                         6    treating their patients.
                         7           127. The program may have certain clinical benefit if and to the extent it helps
                         8    ensure that members with chronic diseases receive treatment for their conditions.
                         9    However, that clinical concerns are not driving this program is demonstrated by which
                         10   patients are targeted. For example, PAFs are only distributed to providers for
                         11   members for whom United, or one of its risk adjustment clients such as Health Net,
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                         12   receives risk adjustment payments from CMS. If United were using the PAFs to
                         13   improve clinical outcomes, they would include all their members, including their non-
                         14   Medicare members, in the PAF program. Furthermore, as with the chart review
                         15   program, the PAF program focuses solely on conditions that tend to be under-coded—
                         16   and thus for which improved coding accuracy stands to increase revenue. Ingenix
                         17   chooses the conditions it targets through PAFs based on revenue impact, not clinical
                         18   impact, and ignores conditions that are frequently overcoded.
                         19          128. For example, United knows that cancer and stroke are often improperly
                         20   coded years after the patient stopped receiving treatment. United could use the PAF
                         21   program to highlight these potentially overcoded conditions to providers. For
                         22   example, if a member has been coded with an acute episodic stroke for three
                         23   continuous years, United can easily notify the provider that two of the three codes are
                         24   probably incorrect. The member most likely had a stroke in the first year (i.e., not
                         25   each year) and the condition should now be coded as “history of stroke.” United
                         26   could alert the provider as to its suspicion, ask the provider to assess their coding and
                         27   documentation for accuracy, and submit a medical chart supporting the diagnosis.
                         28   United does not include this information in its PAF reviews, however, because the
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                         1    provider’s poor coding habits actually increase United’s reimbursement from CMS.
                         2    Therefore, though patients and providers might benefit from knowing this
                         3    information, United chooses not to use it because it would decrease United’s revenue
                         4    from CMS.
                         5          129. Initially, Ingenix received completed PAFs from providers and submitted
                         6    the diagnoses listed on the PAF without reviewing the medical record. More recently,
                         7    Ingenix has required that the medical record accompany the completed PAF—
                         8    purportedly so that diagnoses claimed on the PAF could be “validated.” Instead,
                         9    United actually reviews these medical records for incremental diagnoses that the
                         10   provider may have missed. In this way, the PAF program has become a one-way
                         11   chart review designed to only find incremental codes to submit to CMS for
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                         12   reimbursement.
                         13         130. United not only skews the PAF program to focus solely on undercoded
                         14   diagnoses, it prevents providers from taking the initiative on their own to focus on
                         15   overcoded conditions. Ingenix maintains an online provider portal, called Insite, that
                         16   “percent of premium” capitated providers use to manage risk adjustment activities for
                         17   their members.
                         18         131. Insite contains numerous reports geared towards helping providers
                         19   assess, diagnose and code incremental conditions. One such report, for example, is
                         20   the Central Suspect Report (“CSI”). Similar to PAFs, this report lists conditions that
                         21   United suspects the member may have, but are not coded currently. Another report is
                         22   the Declining RAF report. This report ranks members with risk scores that have
                         23   declined period over period, a fact that highlights to providers that they may have
                         24   missed one or more conditions in their coding. Some Insite reports go so far as to
                         25   calculate the estimated financial impact of coding a particular condition. This allows
                         26   the provider to estimate the incremental reimbursement the provider would receive
                         27   from United by coding the specific condition. Similar to United’s other risk
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                         1    adjustment programs, Insite is designed to identify incremental diagnosis codes that
                         2    United may submit to CMS for payment.
                         3          132. To Relator’s knowledge, however, Insite contains no function for
                         4    providers to notify United of overcoded conditions.
                         5          133. Relator brought the discrepancy between overcoded and undercoded
                         6    conditions to the attention of senior UHMR and Ingenix management. Management
                         7    dismissed his concerns, however, arguing there were “better ways” to address
                         8    overcoded conditions, such as chart validation, discussed below. Both UHMR and
                         9    Ingenix knew, however, that the chart validation program was incredibly limited, and
                         10   that the company had no plans to provide resources to address the problem of
                         11   overcoded conditions through that program.
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                         12         134. Instead, the PAF program is deliberately limited to seeking under-coded
                         13   diagnosis codes so that United can avoid discovering over-coded diagnoses that it
                         14   knows exist.
                         15                      c.     Clinical Operations Initiatives
                         16         135. Clinical Operations Initiatives (“COI”) is a program designed in part to
                         17   “improve” the coding of conditions that United believes are frequently “undercoded.”
                         18   One such COI focuses on diabetes coding. As described above, the HCC model
                         19   assigns multiple HCCs to conditions, such as diabetes, that have variations in severity
                         20   and cost. For instance, a patient with well-controlled diabetes is likely to incur lower
                         21   medical expenses than a patient with uncontrolled diabetes and complications. CMS
                         22   therefore assigns a lower-paying HCC to well-controlled diabetes and a higher-paying
                         23   HCC to uncontrolled diabetes. The goal of the COI program is to increase the severity
                         24   of the diagnosis codes assigned to patients with one of these target HCCs.
                         25         136. Originally, the COI program sought to improve diabetes coding by
                         26   monitoring providers with high percentages of HCC 19 codes. HCC 19 is a code for
                         27   diabetes without complications. The risk score associated with HCC 19 is much
                         28   lower than the risk score for HCC 15, which is the code for diabetes with renal
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                         1    complications. United suspected that some providers were coding HCC 19 when one
                         2    of the more severe diabetes codes (HCC 15–18) would be more appropriate.
                         3          137. Under the COI program, United pays providers approximately $100 for
                         4    each diabetes patient they assess for diabetes complications, submit a supporting
                         5    diagnosis via a claim, and submit a medical record with matching documentation. In
                         6    addition, it pays $200 for each doctor that receives training on the COI program and
                         7    diagnosis coding. Recently, the COI program has expanded to other conditions that
                         8    United suspects are frequently undercoded, such as chronic kidney disease (“CKD”),
                         9    and chronic pulmonary disease (“COPD”).
                         10         138. Like the PAF program, however, United does not pay doctors to improve
                         11   coding for conditions that are frequently overcoded. Again, United knows that cancer
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                         12   and stroke are generally overcoded. But because improving their accuracy would
                         13   decrease revenue, United does not include these conditions in COI. Instead, COI is
                         14   limited to conditions United believes are the most frequently undercoded, such as
                         15   diabetes, CKD, and COPD, and represent large opportunities for increased
                         16   reimbursement from CMS.
                         17         139. In addition, United looks one way with the medical records it receives
                         18   from doctors under the COI program. Thus, when United receives a chart, it does not
                         19   check whether the other diagnoses listed in the chart (such as those submitted through
                         20   claims) are correct.
                         21         140. Even worse, Relator has information and believes that United does not
                         22   delete its previous diagnosis when the provider submits a medical record that
                         23   diagnoses the member with a less severe condition (such as diabetes) than before. For
                         24   example, United may send the doctor a list of diabetic members to assess. One or
                         25   more members may be coded with HCC 15 (diabetes with complications). If the
                         26   doctor submits a claim and medical records for that member diagnosing the member
                         27   with HCC 19 (diabetes without complications), United does not submit a delete code
                         28   to CMS for HCC 15. United simply assumes, without justification, that another
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                         1    doctor was responsible for the HCC 15 code. Similar to its chart reviews, therefore,
                         2    United affirmatively solicits diagnoses from its providers but ignores them when they
                         3    cast doubt on the validity of a higher-paying diagnosis.
                         4                       d.     Other Initiatives to Increase Risk Adjustment Payments
                         5          141. Ingenix runs several additional programs to increase risk adjustment
                         6    payments, including:
                         7          142. Provider Attestations: Medical charts must be signed, credentialed and
                         8    dated to be used to validate a diagnosis. When Ingenix performs chart reviews, it
                         9    identifies charts that are missing one of these elements, preventing United from
                         10   submitting the incremental diagnoses found in those charts to CMS for payment. To
                         11   get around this obstacle, when Ingenix identifies a chart that is (1) missing an
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                         12   administrative element and (2) contains an incremental diagnosis that would increase
                         13   United’s reimbursement from CMS, Ingenix sends an attestation form to the provider
                         14   to confirm the administrative elements. If it receives the attestation from the provider,
                         15   Ingenix submits the incremental codes in the charts to CMS for risk adjustment
                         16   payment. If it does not receive the attestation, however, Ingenix does not delete any
                         17   codes that the provider previously submitted for that member, even though Ingenix
                         18   knows the member’s chart is invalid. Moreover, when Ingenix identifies a chart that
                         19   is missing an administrative element but does not contain an incremental diagnosis,
                         20   Ingenix does not send an attestation form to the provider, though it knows United may
                         21   have submitted diagnoses to CMS based on the invalid chart.
                         22         143. Members without Visits: To encourage members to visit their doctors at
                         23   least once each year, Ingenix works with providers to schedule annual checkups. In
                         24   some cases, this program can have clinical benefits, if the physician actually treats the
                         25   patient, substantively, for the condition in question. However, in other situations, the
                         26   visit is medically unnecessary if the patient is merely brought in so that the physician
                         27   can “code the diagnosis” United has flagged for risk adjustment purposes.
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                         1          144. Hospital Data Capture: Under this program, Ingenix elicits “data
                         2    dumps” from hospitals to ensure it has received all of their diagnosis codes. Hospitals
                         3    often enter more diagnoses for a patient than are transmitted to United. The Hospital
                         4    Data Capture program is designed to retrieve the incremental codes that United did
                         5    not receive so that United can submit those codes to CMS for payment.
                         6          145. Provider Coding Training: United trains providers on how to code
                         7    “properly.” United often directs training to providers with low risk scores or with a
                         8    financial incentive to increase risk scores, such as percent of premium capitated
                         9    providers. Historically, however, it did not proactively offer training to providers who
                         10   performed poorly in validation audits, because they routinely over-coded diagnoses.
                         11   Only recently has United begun offering any such training. The reason, again, is that
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                         12   United’s priority is increasing code submissions.
                         13         146. United employs each of the above programs to increase its risk
                         14   adjustment payments from CMS. In 2010 and 2011, United’s management directed
                         15   UHMR to increase its internal operating income from risk adjustment by $100 million
                         16   and $125 million, respectively, above and beyond what was already planned. UHMR
                         17   worked to achieve the targets by increasing its risk adjustment scores by capturing
                         18   past conditions (PAF), decreasing the percentage of members without visits,
                         19   increasing the number of providers that use Insite, and performing more chart reviews.
                         20         147. The company monitored the progress of each program closely. The
                         21   pressure to earn $100 million in additional risk adjustment income, however, gave
                         22   UHMR no incentive to identify, block, and delete incorrect codes. In fact, the
                         23   company viewed the possibility that it would have to start reviewing charts for
                         24   incorrect codes as a negative. In a January 2010 “Coding Accuracy Progress Report,”
                         25   UHMR warned, “Potential changes to general coding accuracy strategy, including
                         26   chart audits, could impact 2010 results.” Exhibit 5, incorporated herein. In other
                         27   words, looking both ways in chart reviews to identify both incremental and incorrect
                         28   codes would jeopardize its ability to achieve the $100 million target.
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                                           2.     United Fails To Correct (and Reimburse Medicare for) False
                         1                        Risk Adjustment Claims
                         2
                                    148. United knows that much of the claims data and other information that it
                         3
                              receives from physicians and other providers is unreliable. For this reason, United
                         4
                              engages in extensive and expensive initiatives to review and correct that claims data,
                         5
                              outlined in the prior section. Unfortunately—for the United States—United
                         6
                              deliberately chooses to look only one way in its remedial efforts.
                         7
                                    149. United designs its chart review and other corrective initiatives to seek out
                         8
                              only errors that, if corrected, will lead to increased risk adjustment payments. With
                         9
                              the exception of certain small programs—designed to provide the appearance of
                         10
                              fairness— United deliberately designs these programs to avoid discovering that
                         11
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                              United’s previously submitted risk adjustment claims are false (and thus that United
                         12
                              should submit a “delete” code).
                         13
                                    150. Although many of these programs could easily be used to look for both
                         14
                              incremental and delete codes, United has deliberately structured them to look only for
                         15
                              incremental codes. To provide cover for its scheme, United has a few limited
                         16
                              initiatives designed to look for delete codes. However, these initiatives designed to
                         17
                              find false claims are far smaller than their counterparts, and are subject to far stricter
                         18
                              data validation rules.
                         19
                                    151. Notwithstanding its efforts to avoid learning that previously-submitted
                         20
                              claims are false, United nonetheless often generates information that gives it reason to
                         21
                              question the accuracy of diagnosis codes it has already submitted to CMS. United,
                         22
                              however, intentionally (and myopically) does not compare the information to the
                         23
                              diagnoses it has already submitted to CMS. Instead, United simply submits the
                         24
                              incremental diagnoses it finds to CMS, purposely ignoring all evidence or suggestions
                         25
                              of invalid diagnoses that it submitted improperly in the past.
                         26
                                    152. Perhaps the best evidence of both United’s knowledge that the underlying
                         27
                              claims data requires verification, and United’s fraudulent refusal to correct false
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                         1    claims, is the disparity between its efforts to find “incremental” (new) codes and
                         2    “delete” (previously submitted, but false) codes. United attempts to review a medical
                         3    record for every member once every two years to try to find incremental codes, but
                         4    only has a nascent, limited project to identify delete codes. For 2009 dates of service,
                         5    United reviewed approximately 1.4 million charts to try to find incremental codes, but
                         6    only reviewed approximately 3,000 to 5,000 charts to try to find delete codes (and
                         7    even then, only a limited portion of each chart was reviewed).
                         8          153. United has half-heartedly created a small chart validation program that is
                         9    little more than a fig leaf designed to obscure its misconduct, and has been dragging
                         10   its feet for years in completing a very limited pilot program designed to develop a
                         11   system to look both ways.
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                         12         154. Under the chart validation program, Ingenix selects providers who have
                         13   coded certain HCCs at levels significantly above the condition’s national prevalence
                         14   rate. Ingenix audits the providers’ charts for those codes to determine if the codes
                         15   were properly documented and substantiated.
                         16         155. United, however, imposes four restrictions to limit the number of
                         17   validation audits it performs. First, the provider who submitted the code must be a
                         18   Level I provider, defined as a provider with a financial incentive contract with United,
                         19   such as a capitation or gainshare agreement. This limitation excludes both large
                         20   provider groups without coding incentives (Level II) and small provider groups (Level
                         21   III). Second, the provider must have at least 500 United Medicare members. Third,
                         22   for an HCC to qualify as “suspect,” the provider must have coded it at over 300% of
                         23   Ingenix’s national prevalence rate. Fourth, United reviews a small number of
                         24   members (initially only 30) per provider and HCC, often a tiny sample size relative to
                         25   the number of codes the provider submitted.
                         26         156. Ingenix’s approach to chart validation is therefore highly focused and
                         27   excludes a vast majority of United’s providers and risk adjustment data. None of the
                         28   limits on chart validation exist for chart reviews. For example, whereas chart
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                         1    validation contains safeguards to ensure diagnoses are not improperly deleted, United
                         2    submits diagnoses from outside vendors’ chart reviews without validating them in any
                         3    way. The reason for the limits on chart validation is that chart validation is an
                         4    expense that has no revenue potential.
                         5          157. Ingenix’s chart validation program reviewed 4,000 charts in 2010 for the
                         6    2008 and 2009 service years. By comparison, Ingenix’s chart review program
                         7    reviewed approximately 1.4 million charts for the 2008 and 2009 service years. See
                         8    Exhibit 4 (2009 chart reviews).
                         9          158. Despite their limited scope, Ingenix monitors the results of its validation
                         10   audits closely. It compiles data on the validation percentages of each HCC, as well as
                         11   the validation percentages for each provider group. Often, Ingenix identifies specific
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                         12   HCCs and specific provider groups with low validation (i.e., high error) percentages.
                         13   In May 2009, for instance, Ingenix’s Dr. Maninder Khalsa identified five problem
                         14   HCCs (with 15 to 30% error rates): HCC 10 (breast, prostate, colorectal cancers);
                         15   HCC 96 (stroke); HCC 15 (diabetes with renal/circulatory complications); HCC 105
                         16   (vascular disease); and HCC 92 (arrhythmias).
                         17         159. Similarly, an Ingenix validation audit of 2008 codes from Hemet
                         18   Community Medical Group reviewed 30 HCC 67 (quadriplegia) codes and validated
                         19   only two. Though this was an extreme result, Ingenix identified dozens of other
                         20   provider groups with low validation totals in specific HCCs.
                         21         160. Previously, United did little to nothing with the data it found during chart
                         22   validation. Though it submitted delete codes for diagnoses that it could not
                         23   substantiate, until recently Ingenix did not expand its search when it identified a
                         24   problem area. Recently it has enacted a policy calling for an expanded review of any
                         25   HCC that validates 80% or less of the time.
                         26         161. Nor has Ingenix targeted known over-coded conditions, such as cancer or
                         27   strokes, for additional scrutiny. (By contrast, in 2009 Ingenix planned a “High Value
                         28
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                         1    Suspects” initiative to target potentially under-coded, high-revenue members and
                         2    providers.)
                         3          162. In 2010, United developed a pilot program that would look for both
                         4    incremental and unsupported diagnoses during chart reviews. Though aspects of the
                         5    pilot program have recently been adopted, United continues to stack the deck in favor
                         6    of submitting incremental codes. The pilot, as well as United’s subsequent program,
                         7    contain several limitations that do not exist in ordinary chart reviews.
                         8          163. First, the pilot was limited to members with only one provider so that
                         9    United does not delete a diagnosis that some other provider’s chart might validate.
                         10   This restriction does not apply to chart reviews—during chart reviews, whenever
                         11   United identifies a chart that calls another provider’s diagnosis into question, it
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                         12   ignores the chart. United’s limited program to look both ways subsequent to the pilot
                         13   continues to only review charts from members with just one provider.
                         14         164. Second, United limited the number of charts the pilot program reviewed
                         15   so that it had time to validate all of them before CMS’s January 31, 2011 deadline for
                         16   submitting diagnoses from 2009 dates of service. In contrast, United does not limit its
                         17   efforts to find incremental codes before the January 31 deadline to build in time to
                         18   ensure the codes are valid. On the contrary—United runs special programs up to the
                         19   deadline to find as many incremental diagnoses as possible. United does not pause to
                         20   check whether it will have enough time to validate these incremental diagnoses,
                         21   because it simply does not validate the diagnoses it submits.
                         22         165. United’s refusal to correct errors in its risk adjustment claims is so
                         23   extreme that it submits risk adjustment claims to CMS for diagnoses taken from
                         24   claims that it itself refuses to pay as being fraudulent and/or abusive.
                         25         166. Through its fraud and abuse department, regular claims processing
                         26   efforts, and some of the other initiatives discussed in greater detail above, United
                         27   routinely learns that the claims data that was used as the basis for certain risk
                         28   adjustment claims is erroneous. Nonetheless, United routinely submits risk
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                         1    adjustment claims—or fails to correct previously submitted claims—in purported
                         2    reliance on that false data.
                         3          167. Like most insurance companies, United contains a Fraud and Abuse
                         4    Prevention Unit (“F&A”) in Ingenix that is responsible for identifying and resolving
                         5    fraudulent claims. F&A mines claims data for anomalies that suggest a fraudulent
                         6    claim. For example, F&A looks for claims for drugs that were not truly administered
                         7    to patients, such as patients who supposedly received cancer drugs despite not having
                         8    a cancer diagnosis. If and when F&A identifies a claim that it considers sufficiently
                         9    false to be fraudulent, it takes action against the provider who submitted the claim,
                         10   either by denying the claim or demanding reimbursement.
                         11         168. Ingenix, however, refuses to use this information to correct its risk
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                         12   adjustment database or claims submissions. Ingenix’s F&A unit does not report the
                         13   fraudulent claim to Ingenix’s Clinical Assessment Solutions (“CAS”) group; thus the
                         14   CAS group cannot block submission of the claim’s diagnosis codes to CMS or delete
                         15   HCCs it already submitted due to the claim.
                         16         169. Ingenix knows that CAS is submitting fraudulent codes to CMS because
                         17   it cannot interact with F&A, but has chosen not to fix the problem. Beginning as late
                         18   as 2009, Ingenix explored improving the coordination between CAS and F&A as a
                         19   way to increase coding accuracy. Dr. Maninder Khalsa of CAS stated in May 2009
                         20   that “[w]e have reached out to the INGENIX Fraud and Abuse Prevention Unit in an
                         21   effort to coordinate our areas of expertise and collaborate where possible.” During
                         22   that time and subsequently, Relator recommended to Ingenix that it must coordinate
                         23   CAS and F&A to prevent the submission of fraudulent codes. He voiced these same
                         24   concerns to his superior at UHMR, Scott Theisen. Ingenix, however, has refused to
                         25   fix the problem.
                         26         170. United’s submission of fraudulent codes reflects its broader failure to
                         27   coordinate its claims processing system with IRADS (the system it uses to process and
                         28   submit risk adjustment claims), as discussed below. Specifically, when a claim is
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                         1    denied, United deliberately refuses to check whether the denial affects the validity of
                         2    risk adjustment claims, i.e., whether it compels United to delete any diagnosis codes.
                         3             171. There are similar problems with other programs and initiatives at United.
                         4    As described above, in other situations, United learns through chart review initiatives
                         5    or other programs that certain claims data or other sources of diagnosis codes used in
                         6    risk adjustment claims are false. United deliberately refuses to delete those false
                         7    diagnosis codes from its risk adjustment claims systems, and refuses to correct
                         8    previously submitted risk adjustment claims that were based on those false diagnosis
                         9    codes.
                         10                  3.    United Continues To Develop New Programs To Seek New
                                                   Claims To Submit, While Slow-Walking Its Limited Efforts to
                         11                        Correct Overcoded Claims
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                         12            172. Relator has spoken with senior United executives about, and has other
                         13   personal knowledge that those executives are aware of, the fraudulent risk adjustment
                         14   practices discussed in this Complaint, including United’s chart review practices and
                         15   other risk adjustment initiatives. On this basis, Relator knows that at least the
                         16   following United executives know about some or all of the problems discussed herein,
                         17   and have participated in the scheme to continue submitting fraudulent claims and to
                         18   refuse to correct previously submitted false claims: Stephen Hemsley, UHG Chief
                         19   Executive Officer; Gail Boudreaux, UHG Executive Vice President and CEO of
                         20   United Healthcare; Larry Renfro, Optum CEO; Tom Paul, UHMR Chief Executive
                         21   Officer; Cindy Polich, UHMR President; Lee Valenta, Ingenix’s former Chief
                         22   Operating Officer (and current President of Ingenix’s Life Sciences Division); Jack
                         23   Larsen, former CFO of PSMG (and current CEO of UHCS); Scott Theisen, UHMR
                         24   Senior Vice President of Finance; Jeff Dumcum, Senior Vice President of Ingenix;
                         25   and David Orbuch, PSMG Chief Compliance Officer.
                         26            173. Although numerous United officials have acknowledged to Relator that
                         27   the company should be “looking both ways” when it tests the validity of its risk
                         28   adjustment data sources, United continues to focus almost exclusively on adding
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                         1    incremental codes. Although United has created a very limited “pilot project” to test
                         2    the possibility of “looking both ways” during chart reviews, that program gets limited
                         3    resources and serves primarily as a fig leaf to mask the one-sided nature of United’s
                         4    efforts.
                         5           174. Though the pilot is only experimental, United invokes it as justification
                         6    for continuing its fraudulent chart reviews. In an email on September 9, 2010, UHMR
                         7    President Cindy Polich, who worked at United’s Orange County, California office,
                         8    emailed Relator that she and UHMR Chief Executive Officer Tom Paul had discussed
                         9    whether to increase chart reviews despite knowing the reviews disregarded incorrect
                         10   codes, and “had resolved the issue of concern by agreeing to develop and implement a
                         11   pilot.” Exhibit 6, incorporated herein. Polich told Relator that she and Paul “both
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                         12   agreed that this issue should not stand in the way of moving forward with additional
                         13   chart audits.” Id. In May 2011, UHMR CFO Scott Theisen decided that UHMR
                         14   should limit the number of chart reviews and PAFs it performed in 2012 to the
                         15   number it performed in 2011, due to his “compliance concerns.” At or around the
                         16   same time, Theisen told Relator and senior executives at Ingenix that he had discussed
                         17   the chart review problem, as well as the IRADS problems discussed below, with UHG
                         18   CEO Stephen Hemsley and UHG Executive Vice President Gail Boudreaux.
                         19          175. Moreover, United continues to invest significant resources toward
                         20   finding incremental diagnoses while at the same time devoting significantly fewer
                         21   resources to the pilot or to fixing IRADS. For example, United developed
                         22   “playbooks” containing ideas for increasing its risk scores. These playbooks are
                         23   garnering top-level attention at the company while the myriad problems with United’s
                         24   risk adjustment programs and processes go unresolved.
                         25          176. United conceals the one-way nature of its risk adjustment programs from
                         26   CMS and even its investors. For example, United’s remediation plan for 2010 that
                         27   sought to increase IOI by $800 million allocated $100 million to “Project 7.” Project
                         28   7 was United’s codeword for initiatives to increase risk adjustment payments. The
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                         1    company used a codeword (as opposed to “growth,” “enrollment,” or “claims”)
                         2    because it did not want CMS or other investigatory government agencies to know it
                         3    had a campaign to claim an additional $100 million through risk score increases.
                         4          177. Similarly, during its fourth-quarter earnings call on January 21, 2011,
                         5    Tom Paul, CEO of UHMR, told investors that UHMR “on a year-over-year basis” was
                         6    seeing “improvements” in its risk adjustment “accuracy rates.” This statement was
                         7    misleading, for while UHMR had found and submitted a substantial number of
                         8    incremental codes, it has no evidence that its submissions were more accurate (i.e., the
                         9    error rate of the data it submits has decreased). This fact is well known at United.
                         10         178. At Relator’s urging, United has changed the text of the letters it sends to
                         11   providers about chart reviews to remove the word “accuracy.” The letters now say
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                         12   that United reviews charts to ensure it submits “complete diagnosis information” to
                         13   CMS, not complete and accurate information.
                         14                4.     United Encourages Providers To Upcode, and Submits False
                                                  Risk Adjustment Claims Based on That Upcoding
                         15

                         16         179. United encourages and provides incentives to its provider groups and risk
                         17   adjustment vendors to upcode their claims data, and then uses that upcoded data to
                         18   submit false and/or fraudulent risk adjustment claims to Medicare. Moreover, even
                         19   when it is faced with evidence that a provider or provider group is routinely upcoding
                         20   its diagnosis information, United does little or nothing to either correct the provider’s
                         21   coding practices, or give that provider’s claims information special scrutiny before
                         22   using it as the basis for the submission of a risk adjustment claim to Medicare.
                         23         180. United routinely provides physicians, hospitals and other providers
                         24   information on diagnoses that United wants them to code more frequently. Often this
                         25   information is presented as educational material designed to increase coding accuracy.
                         26   Significantly, though, this information routinely focuses only on diagnoses that, if
                         27   coded, would lead to increased reimbursement for United. In fact, United often pairs
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                         1    this coding “advice” with information on how much money United (and, often, the
                         2    providers themselves) stands to make if the diagnoses is coded more often.
                         3          181. From the inception of CMS’s risk adjustment system, UHMR and
                         4    Ingenix have known that many of their capitated providers are fraudulently submitting
                         5    false and incorrect risk adjustment diagnoses. United’s policy and practice, however,
                         6    has been to continue accepting diagnoses from its capitated providers even when it
                         7    knows the data from those providers is unreliable. Only in rare instances does United
                         8    audit its providers, and in those instances it merely deletes whatever bad diagnoses it
                         9    finds without conducting a top-to-bottom review, correcting the capitated provider’s
                         10   methods or terminating its relationship with the provider. Thus, UHMR and Ingenix
                         11   knowingly submit, or cause the submission of, false risk adjustment claims to CMS.
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                         12         182. On information and belief, UHMR’s capitated providers are knowingly
                         13   submitting incorrect and/or unsubstantiated codes to Ingenix, for transmission to
                         14   CMS. For example, Princeton IPA of San Antonio, a capitated provider within
                         15   WellMed, had a risk score of 1.383 in January 2010 among its 34,163 members (by
                         16   January 2011, Princeton’s risk score was 1.504 among 34,902 members). Exhibit 7,
                         17   incorporated herein. Such a risk score suggested that WellMed’s members were
                         18   substantially sicker than average (CMS sets the risk score for an average Medicare
                         19   beneficiary at 1). UHMR knows that WellMed’s unusually high risk score is in large
                         20   part attributable to fraud. For example, Relator learned in the fall of 2010, following
                         21   an audit conducted by Ingenix, that WellMed (Princeton IPA of San Antonio)
                         22   routinely submits improper diagnoses.
                         23                5.    United Knows that its Risk Adjustment Claims Submission
                                                 System Is Flawed, and Routinely Submits False Claims, But
                         24                      Has Failed to Fix that System or To Find and Fix Past False
                                                 Claims
                         25

                         26                      a.     Background
                         27         183. United knows of several significant problems with the way that its
                         28   Ingenix Risk Adjustment Data System (“IRADS”) processes claims data and submits
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                         1    risk adjustment claims to CMS. These errors always, or almost always, cause the
                         2    submission of false and/or upcoded claims. Almost never do these errors cause
                         3    United to fail to submit a valid claim.
                         4          184. Notwithstanding this knowledge, United has failed to fix the IRADS
                         5    system, or to fix the previously submitted false claims caused by these flaws in the
                         6    programming and logic of the IRADS system.
                         7          185. The risk adjustment information United submits to CMS originates
                         8    primarily from provider encounter and claims data. Providers submit encounters and
                         9    claims information to United through one of several automated systems, such as the
                         10   Professional Encounter System (“PES”), COSMOS, NICE, Pulse, Facets, and others.
                         11         186. United collects data from these systems and sends the data to Ingenix for
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                         12   incorporation into IRADS. IRADS applies multiple logic filters to the data to identify
                         13   which diagnosis codes are eligible for submission to CMS, and which are not.
                         14         187. For example, when UHMR receives a claim from a provider containing
                         15   an ICD-9-CM diagnosis code for diabetes, IRADS should screen that claim to ensure
                         16   that all the required data elements are present, pursuant to CMS rules. If IRADS finds
                         17   the Provider ID on the claim corresponds to a primary care physician, and a CPT code
                         18   for a physical examination, it should then submit the code for risk adjustment. This is
                         19   because the information on the claim corresponds to a face-to-face encounter between
                         20   a physician and the patient. However, if the claim’s Provider ID corresponds to a
                         21   laboratory technician and the CPT code is for blood work, IRADS should filter out
                         22   that claim because it is clear the diagnosis code is based on a lab test, not a face-to-
                         23   face encounter with an appropriate provider type.
                         24         188. From these eligible codes, IRADS creates the data file that Ingenix
                         25   submits to CMS’s risk adjustment processing system (“RAPS”). Claims and
                         26   encounter data processed through IRADS account for approximately 95% of the
                         27   diagnoses United submits to CMS.
                         28
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                                                    b.    United Knows that the Filtering Logic Built Into IRADS
                         1                                is Deeply Flawed and Consistently Errs in Favor of
                                                          Overcoding Risk Adjustment Claims
                         2
                                    189. The serious problems that United has identified with IRADs include, but
                         3
                              are not limited to:
                         4
                                             a.     use of “exclusion logic” to bias IRADS filters so that when in
                         5
                                    doubt they err on the side of including a diagnosis code and submitting a claim;
                         6
                                             b.     use of flawed logic concerning identification of provider
                         7
                                    specialties, leading to the inclusion of services provided by ineligible provider
                         8
                                    types;
                         9
                                             c.     failing to correct the IRADS data, and failing to correct previously
                         10
                                    submitted claims, when a provider informs United that a previously submitted
                         11
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                                    claim was invalid or incorrect;
                         12
                                             d.     failing to properly separate information on individual service lines
                         13
                                    where one claim includes more than one separate procedure;
                         14
                                             e.     resubmitting previously deleted diagnoses to CMS;
                         15
                                             f.     submitting diagnoses from an institutional claim where the patient
                         16
                                    did not receive a face-to-face service; and
                         17
                                             g.     failing to update IRADS’ filtering logic to include the most current
                         18
                                    CPT codes.
                         19
                                    190. These problems are interrelated and often work in conjunction to cause
                         20
                              erroneous submissions.
                         21
                                    191. Relator has discussed the problems with IRADS with many of United’s
                         22
                              senior executives. In this way, Relator knows the company is aware of the problems.
                         23
                              Although United knows about the issues with IRADS, it has allowed Ingenix to
                         24
                              continue submitting risk adjustment data to CMS, and has not disclosed the problems
                         25
                              to CMS. United continues to submit diagnosis codes it knows are ineligible for risk
                         26
                              adjustment. Likewise, United has not deleted codes that IRADS improperly submitted
                         27
                              and has limited its investigation into the extent of the errors.
                         28
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                         1           192. Relator has information to believe that the problems with IRADS may
                         2    also be found in its legacy risk adjustment processing systems, and thus date from the
                         3    very beginning of the risk adjustment system in 2004. United has intentionally not
                         4    reviewed whether its legacy systems contained an error it has identified in IRADS
                         5    (“Issue 1,” discussed infra) and thus whether it needs to delete any improperly-
                         6    submitted codes, for example. United also has not reviewed whether its legacy
                         7    systems contained any of the other errors it has identified in IRADS.
                         8                        c.     Improper Use of Exclusion Logic
                         9           193. The most pervasive problem with IRADS is that it was built to use
                         10   “exclusion logic” to filter diagnosis codes. As a result, the system essentially takes
                         11   the position of “when in doubt, submit a claim.”
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                         12          194. Generally speaking, exclusion logic compares objects in a database
                         13   against a defined “exclusion list” and marks the matches (if any) for exclusion. For
                         14   example, exclusion logic in an airport security system might compare travelers’ names
                         15   against a list of the FBI’s Ten Most Wanted and flag any matches for security
                         16   officials.
                         17          195. In IRADS, the exclusion logic filters out claims data if one or more of the
                         18   data elements exactly matches a list of codes to exclude. For physician claims, the
                         19   exclusion lists include, without limitation: (a) CPT codes; and (b) the provider’s
                         20   specialty type. For institutional claims, the lists include, without limitation: (a) the
                         21   bill type; (b) the revenue code; and (c) discharge status.
                         22          196. Thus, for example, IRADS’ exclusion list for CPT codes includes the
                         23   codes for ineligible procedures such as laboratory work and diagnostic radiology. If a
                         24   CPT code for the diagnosis matches a CPT code on the exclusion list, IRADS
                         25   excludes the diagnosis from the data United submits to CMS for risk adjustment.
                         26          197. IRADS’ exclusion logic, however, contains a basic and devastating
                         27   error—it only catches information that matches information on its exclusion lists
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                         1    exactly. Information that is invalid but not on the exclusion list passes through the
                         2    filter.
                         3              198. Incredibly, this means that even if a key data element is left blank, or
                         4    filled with a completely erroneous value, IRADS assumes that is a valid value because
                         5    the blank or erroneous value does not appear on the list of codes to exclude. Thus
                         6    IRADS will use that claim data when submitting risk adjustment claims.
                         7              199. This error causes Ingenix to claim payment for HCCs taken from claims
                         8    data that are obviously ineligible for risk adjustment. For example, IRADS may catch
                         9    and filter a diagnosis with CPT code 74150 (a radiology code). However, it will not
                         10   catch a diagnosis with a CPT code field that is blank, erroneous (e.g., 74x50), or even
                         11   reads “this diagnosis is not eligible for risk adjustment.” So long as the field does not
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                         12   match the CPT codes on the exclusion list, the IRADS filter will not catch the bogus
                         13   entry and the invalid diagnosis code will pass through to CMS.
                         14             200. The exclusion logic error is emblematic of United’s design for IRADS
                         15   and its approach to risk adjustment in general—if United has any doubt about whether
                         16   a diagnosis is eligible for risk adjustment, it submits it for payment.
                         17                          d.    Flawed Provider Specialty Logic
                         18             201. United designed its claims systems and IRADS in such a way that it
                         19   improperly submits claims to CMS for diagnoses made by ineligible provider types.
                         20             202. First, because of an error in the way IRADS processes provider billing
                         21   identification numbers (“billing IDs”), IRADS fails to screen many diagnoses by
                         22   provider type. As described above, CMS forbids MA plans from submitting
                         23   diagnoses based on documents from ineligible providers such as registered nurses
                         24   (“RN”) or radiologists. Thus, CMS requires MA plans to screen the diagnosis codes
                         25   they submit by provider type.
                         26             203. The claims and encounter forms that United enters into IRADS each
                         27   contain a billing provider identification number (“billing ID”). UHMR typically
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                         1    assigns billing IDs on a billing/contract basis, such that large, multi-specialty provider
                         2    groups contracted with UHMR often have a single billing ID.
                         3           204. IRADS takes a shortcut in how it screens for provider types—it assumes
                         4    that if a billing ID ever submits a claim or encounter with an eligible provider type,
                         5    then the billing ID’s future claims and encounter forms will also have eligible
                         6    provider types. When IRADS receives a claim with an eligible provider type, it adds
                         7    the billing ID from that claim to its list of billing IDs associated with eligible provider
                         8    types. Once the billing ID has been added to that list, IRADS treats all claims
                         9    submitted by that billing ID as valid, regardless of the actual provider specialty of the
                         10   provider who provided the service in question.
                         11          205. For example, if a newly-credentialed medical center submits five claims
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                         12   to United for a radiologist, IRADS will identify the provider specialty as
                         13   “radiologist,” an ineligible provider type, and block the diagnoses from going to CMS.
                         14          206. However, the first time the medical center submits a code from an
                         15   eligible provider (e.g., internist), IRADS treats the billing ID as conclusive evidence
                         16   that the medical center’s future diagnoses will likewise be made by eligible providers.
                         17   From that point forward, IRADS stops filtering the medical center’s claims by
                         18   provider type altogether, allowing all subsequent diagnoses from the medical center’s
                         19   radiologists to be submitted to CMS for risk adjustment (assuming they pass the other
                         20   filters).
                         21          207. Second, United designed its claims systems to default all unknown
                         22   provider types to CMS physician specialty code 99, “unknown physician specialty.”
                         23   Generally speaking, health care providers use a different taxonomy for provider
                         24   specialties than CMS. CMS requires providers to submit a valid provider type with
                         25   each claim, so providers must map their taxonomy to CMS’s. CMS recognizes
                         26   approximately 66 physician specialty codes. Thus, a provider submitting a claim for a
                         27   diagnosis made by an acute care nurse practitioner must map its code for the nurse
                         28   practitioner, code 363LA2100X, to the appropriate CMS physician specialty code,
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                         1    code 50. United’s claims systems are designed so that many provider specialty codes
                         2    default to physician code 99. For some of United’s claims systems, codes default
                         3    when they fail to map to an eligible CMS physician specialty type. In another system,
                         4    the Provider Encounter System, all provider specialties map to code 99. Thus, IRADS
                         5    cannot filter many claims for ineligible provider specialties. United’s use of code 99
                         6    as a default is improper, because to use it United has to know the provider is a
                         7    physician. It cannot use the code whenever it knows nothing about the provider who
                         8    submitted the claim.
                         9                        e.    Failure to Remove Diagnosis Codes Associated With
                                                        Claims “Voided” by the Provider
                         10

                         11           208. When one of United’s institutional providers voids a claim that was the
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                         12   source of a risk adjustment claim submitted to CMS, United processes the void
                         13   instruction (i.e., reverses the claim and recoups any claim payment) but does not
                         14   delete the diagnosis code from its IRADS database or submit a delete code to CMS to
                         15   reverse the risk adjustment claim. CMS therefore pays United an additional amount
                         16   for diagnoses taken from cancelled claims.
                         17           209. United’s general process for submitting diagnoses for risk adjustment
                         18   starts with the claims and encounter data it receives from providers. Providers submit
                         19   these claims and encounter data to United, which extracts data from them and enters
                         20   the data into IRADS.
                         21           210. The “void and replace” occurs because IRADS only collects a limited
                         22   portion of the data in the claims system. For example, United receives most claims
                         23   from hospitals and other institutional providers on Form UB-04. Exhibit 8,
                         24   incorporated herein. Form UB-04 includes a field for the type of bill the claim
                         25   represents (Item 4). The bill type is a three-digit code. The last digit of the code
                         26   indicates whether the institution submitted the bill to void or replace a prior Form UB-
                         27   04.
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                         1          211. IRADS, however, is unable to process the bill type’s void/replace
                         2    instruction. Thus when United receives instructions from a provider to void out a
                         3    prior claim, and then replace it with a new claim, IRADS essentially treats this as
                         4    three valid claims: (a) the original claim; (b) the “void” instruction, which looks like
                         5    the original claim but for the data element that identifies it as a voiding claim; and (c)
                         6    the new claim. Thus, if no filter applies, IRADS submits to CMS both the diagnosis
                         7    from the original claim and the diagnosis from the replacement claim.
                         8          212. IRADS submits false data because of this error. For example, a fee-for-
                         9    service provider who submits a claim (“claim #2”) on Form UB-04 (diagnosis:
                         10   vascular disease) to replace a claim (“claim #1”) on Form UB-04 (diagnosis:
                         11   congestive heart failure (“CHF”)) will receive payment from United based on claim
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                         12   #2 only. United, however, submits both the vascular disease diagnosis (HCC 105)
                         13   and the CHF diagnosis (HCC 80) to CMS for risk adjustment. By doing so, United
                         14   represents that its member was treated for both conditions in the present year, when in
                         15   fact the member was only treated for one. United claims payment from CMS for both
                         16   conditions.
                         17                       f.     Failure to Separately Filter Procedure Codes When
                                                         Multiple Services Are Included on a Single Claim
                         18

                         19         213. IRADS also fails to distinguish which diagnosis codes are associated
                         20   with which procedures in situations where one claim form contains separate line items
                         21   for two or more different procedures. Instead, IRADS assumes that all diagnosis
                         22   codes on a claim are associated with each of the procedure codes. Thus, if either of
                         23   the procedure codes is valid for risk adjustment purposes, IRADS uses all of the
                         24   diagnosis codes for risk adjustment.
                         25         214. Both professional (i.e., physician) and institutional (i.e., hospital) claims
                         26   forms have multiple lines in which the provider can list the multiple procedures that
                         27   may have been performed for a member. At least some of United’s claims systems,
                         28
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                         1    such as NICE (legacy PacifiCare) are capable of processing individual service lines.
                         2    IRADS, however, is not programmed to treat each line separately.
                         3          215. For example, a claim may contain two service lines: (1) an office visit
                         4    with a doctor who diagnosed cancer; and (2) a laboratory procedure performed by a
                         5    technician to determine if the member has diabetes. The claim contains two diagnoses
                         6    (cancer and diabetes) drawn separately from the two service lines. IRADS, however,
                         7    conflates the service lines into a single data point. When checking for CPT codes,
                         8    therefore, IRADS identifies the eligible CPT code (the office visit) and attributes it to
                         9    both the cancer and diabetes diagnoses, even though the doctor had only diagnosed
                         10   cancer. The CPT code for the laboratory procedure is effectively ignored.
                         11   Consequently, IRADS submits both diagnoses to CMS, falsely representing that the
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                         12   doctor had diagnosed and treated the patient for two conditions, when it fact the
                         13   doctor had only diagnosed one.
                         14         216. The service lines that IRADS is incapable of processing appear in
                         15   United’s claims forms. For example, Health Insurance Claims Form 1500 (“Form
                         16   1500”), the industry’s standard claims form for professional health services, contains a
                         17   field (Item 33) for the provider ID as well as a field (Item 21) for diagnosis codes.
                         18   Exhibit 9, incorporated herein. Form 1500 also includes six “service lines” (each line
                         19   consists of Items 24A–J) indicating, inter alia, the dates of service, the procedures
                         20   performed (i.e., CPT codes), the “diagnosis pointer,” and the rendering provider
                         21   identification number. The diagnosis pointer (Item 24E) relates one of the diagnoses
                         22   in Item 21 to each of the service lines in Item 24 in order to document which health
                         23   condition each service treated.
                         24         217. IRADS is unable to process critical information in Form 1500’s service
                         25   lines (Item 24) that determines the claim’s risk adjustment eligibility. In addition to
                         26   its inability to process CPT codes correctly, IRADS uses the field for billing provider
                         27   number (Item 33) to determine whether an eligible provider type submitted the claim.
                         28   In doing so, IRADS ignores Item 24J, which lists the rendering provider identification
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                         1    number for each service line. (The provider accumulator error is associated with this
                         2    false correlation. See ¶¶201-207.) For example, in the prior example of a claim with
                         3    two diagnoses (cancer and diabetes) from two service lines, Form 1500 lists the cancer
                         4    and diabetes diagnoses in Item 21 and the doctor and the laboratory technician as
                         5    rendering providers in Item 24J(1)–(2). Because IRADS relies on the billing provider
                         6    (Item 33) and ignores the rendering provider (Item 24J), it does not filter the diabetes
                         7    diagnosis, even though it is supported only by a lab request.
                         8          218. When United stands to have to delete HCCs because of an invalid CPT
                         9    code, however, it finds itself quite capable of processing service lines individually.
                         10   For example, in August 2009 Ingenix learned that it had submitted 257,515 diagnoses
                         11   to CMS that were associated with a CPT code that was inconsistent with a face-to-face
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                         12   encounter with a qualifying provider. Because the CPT code was invalid, United
                         13   knew it likely had to delete the diagnosis codes. In discussing the potential loss of
                         14   257,515 diagnoses, however, Ingenix’s Angelo Fiorucci wrote Ingenix’s Paul Bihm
                         15   and Randall Myers that “I believe that we will be able to reduce the 257,515 because
                         16   we have to validate that every claim line was coded as an ‘Invalid CPT Code.’” Two
                         17   things are clear from this response. First, United knows that just because IRADS
                         18   submitted a diagnosis code to CMS does not mean that the diagnosis code is linked to
                         19   a valid CPT code on the claims form. Thus, United has reason to know that IRADS
                         20   submits false claims to CMS. Second, United is willing and able to process claims
                         21   forms by individual service lines—in other words, to correct the mistake caused by the
                         22   logic error in IRADS—only when it would otherwise have to delete a diagnosis.
                         23         219. In April 2011, Ingenix Director of Encounter Operations, Rebecca
                         24   Martin, confirmed to Relator that Ingenix had in fact reviewed individual service lines
                         25   when it deleted diagnoses in 2009. Martin, who, upon information and belief, was
                         26   based in Orange County, said she suspected Ingenix had done the same when it had
                         27   deleted diagnoses in 2006 as well. Relator gave Martin the hypothetical of a claim
                         28   containing diagnoses of diabetes from a laboratory CPT (ineligible), cancer from a
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                         1    radiology CPT (ineligible), and CHF from an office visit CPT (eligible). As discussed
                         2    previously, IRADS improperly submits all three diagnoses to CMS. In
                         3    acknowledging that Ingenix acts differently when it has to delete diagnoses, Martin
                         4    told Relator: “In your example, we would have put diabetes and cancer on the delete
                         5    list and saved CHF.”
                         6                         g.   Resubmission of Previously Deleted Diagnoses
                         7          220. IRADS submits improper diagnoses to CMS because it is unable to
                         8    associate a diagnosis Ingenix has deleted with a duplicate diagnosis in a resubmitted
                         9    claim. When Ingenix decides to delete a diagnosis code listed in a claim, and the
                         10   claim is later resubmitted by the provider, IRADS does not associate the newly-
                         11   resubmitted claim with the deleted diagnosis. Therefore, Ingenix may determine that
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                         12   a diagnosis was improperly submitted to CMS, and yet resubmit the same code (if no
                         13   filter applies) because IRADS is unable to associate the resubmitted claim with the
                         14   deleted diagnosis.
                         15                        h.   Submitting Institutional Claims for Non-Face-To-Face
                                                        Services
                         16

                         17         221. Perhaps most egregiously, United identified and disclosed to CMS a
                         18   problem in IRADS that was causing it to submit false diagnoses, but has knowingly
                         19   fixed the problem in only one out of two contexts.
                         20         222. The problem, which United refers to as “Issue 1,” affects diagnosis codes
                         21   that corresponded to multiple procedure codes. As discussed above, MA plans must
                         22   use procedure codes to filter diagnoses codes to ensure the diagnoses were made
                         23   during a face-to-face encounter with an eligible provider. The procedure codes used
                         24   in professional (e.g., physician) claims are known as CPT codes; the procedure codes
                         25   used in institutional (e.g., hospital) claims are called revenue codes.
                         26         223. For Issue 1, IRADS was inexplicably programmed to skip CPT code
                         27   filtering—and essentially assume that a diagnosis was made during a face-to-face
                         28   encounter with an eligible provider—as long as the diagnosis code was associated
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                         1    with two or more CPT codes. IRADS made this assumption regardless of what the
                         2    CPT code values were. Thus, even when the diagnosis code was submitted with two
                         3    invalid CPT codes, IRADS would assume one of those codes was valid and submit a
                         4    risk adjustment claim based on that diagnosis code.
                         5          224.   In 2008 and 2009, United investigated Issue 1 and confirmed it had
                         6    caused United to submit invalid diagnoses to CMS. United notified CMS, fixed the
                         7    CPT code filter, and submitted delete codes for the false diagnoses.
                         8          225. United, however, knowingly did not fix Issue 1 as it pertains to
                         9    institutional claims. For institutional claims, IRADS continues to use the same
                         10   erroneous logic such that an institutional claim with multiple non face-to-face revenue
                         11   codes (the institutional equivalent to CPT codes) will pass IRADS’ revenue code filter
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                         12   automatically. The result is that two wrongs often equal a right. A diagnosis with one
                         13   bad revenue code is filtered out; a diagnosis with two bad revenue codes is submitted
                         14   to CMS for payment.
                         15                      i.     United Knowingly Fails to Filter Diagnoses With
                                                        Current Procedure Codes
                         16

                         17         226. To ensure that it screens diagnoses based on their procedure codes
                         18   properly, United is required to review the procedure codes on its exclusion list
                         19   annually. Procedure codes—CPT codes and revenue codes—are regularly modified
                         20   or changed year-over-year, and MA plans often determine that they need to update
                         21   their risk adjustment filters to reflect the changes. United, however, fails to perform
                         22   annual procedure code reviews. The exclusion logic in IRADS is therefore out of date
                         23   and results in United improperly submitting to CMS diagnoses with procedure codes
                         24   that are no longer associated with a face-to-face encounter with an eligible provider.
                         25         B.     Ingenix Knowingly Submits, and Causes To Be Submitted, False
                                           Risk Adjustment Claims and Fails to Correct Previously-Submitted
                         26                False Risk Adjustment Claims
                         27         227. UHG’s Ingenix subsidiary performs risk adjustment services for health
                         28   plans other than United’s. The health plans include, without limitation, defendants
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                         1    Health Net, Arcadian, and Tufts. The services Ingenix provides these plans include
                         2    both processing and submitting risk adjustment claims to CMS using the flawed
                         3    IRADS system and performing chart reviews for incremental codes. Ingenix performs
                         4    these services in the same manner as it does for United, as discussed infra. As such,
                         5    Ingenix knowingly submits, causes to be submitted, and conspires with its commercial
                         6    clients to submit false claims on behalf of its commercial clients. So too, those
                         7    commercial clients submit, cause to be submitted, and conspire with Ingenix to submit
                         8    false claims. Ingenix and its commercial clients also fail to correct (and reimburse
                         9    Medicare for) previously submitted claims that they later learn, or should learn, are
                         10   false.
                         11            228. Ingenix told at least some clients that it was developing a system to start
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                         12   “looking both ways”—e.g., to look for both incremental and inaccurate diagnoses
                         13   during chart reviews (a limited system was adopted in July 2011). Relator has
                         14   information and believes that some of Ingenix’s commercial clients, having opt-out
                         15   clauses in their contracts, have told Ingenix that they will cease using Ingenix to
                         16   submit their risk adjustment data if Ingenix decides to start “looking both ways.”
                         17            229. Health Net, meanwhile, has told Ingenix that it would simply follow
                         18   United’s lead, agreeing to having Ingenix review its charts for incremental and
                         19   incorrect codes only if and when United implemented such reviews.
                         20            230. In a June 2011 meeting with senior UHMR executives, Jeff Dumcum
                         21   said that Ingenix’s commercial clients had not asked it to look both ways during chart
                         22   reviews, but that they “may change their opinion when CMS releases their RADV
                         23   extrapolation methodology.” He noted that Health Net was the only commercial
                         24   client currently willing to purchase “two way” chart reviews when United eventually
                         25   implemented it. In March 2011, meanwhile, Dumcum told senior UHMR managers
                         26   that he was unaware of any other large plan that looked both ways in its chart reviews.
                         27   Ingenix understands from its interaction with smaller MA plans, meanwhile, that they
                         28   have overwhelmingly chosen not to look both ways because, as self-perceived “small
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                         1    fish,” they believe they stand a lesser chance of CMS singling them out for defrauding
                         2    the government.
                         3          231. In addition, Ingenix’s commercial risk adjustment clients have
                         4    independent reason to know that Ingenix ignores incorrect diagnoses when it performs
                         5    chart reviews: when Ingenix reports chart review results to its clients, it reports
                         6    thousands of additional diagnoses, but no delete codes. The Defendants know the risk
                         7    adjustment data they submitted to CMS was not 100% accurate and substantiated. By
                         8    not identifying a single diagnosis to delete or replace, Ingenix clearly demonstrates to
                         9    its clients that it disregards inaccurate and/or ineligible diagnoses.
                         10         C.     WellMed Knowingly Submits, and Causes To Be Submitted, False
                                           Risk Adjustment Claims and Fails to Correct Previously-Submitted
                         11                False Risk Adjustment Claims
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                         12         232. WellMed, through its various affiliates and subsidiaries, is both a
                         13   provider group and a managed care plan. In those joint roles, WellMed has both
                         14   caused MA plans to submit false risk adjustment claims by providing those plans with
                         15   false and fraudulent diagnosis information in connection with claims for physician
                         16   services, and submitted false risk adjustment claims on its own in its capacity as a MA
                         17   health plan. WellMed also fails to correct (and reimburse Medicare for) previously
                         18   submitted claims that it later learns, or should learn, are false
                         19         233. Relator has information and believes that WellMed maintains policies
                         20   and practices designed to maximize its risk adjustment submissions without regard to
                         21   their accuracy or eligibility. WellMed allocates significant resources to increasing its
                         22   risk adjustment payments, submitting data to IRADS through its own processing
                         23   system, DataRap, which is designed to identify HCCs (and which UHMR previously
                         24   used directly for a portion of its Texas membership).
                         25         234. DataRap is WellMed’s system for identifying, processing, and submitting
                         26   diagnosis codes to CMS for payment. WellMed developed the system now called
                         27   DataRap around 2005 to allow its nurse practitioners to perform chart reviews. In
                         28   2008, WellMed expanded the system to include filtering and submitting diagnoses to
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                         1    CMS. Like IRADS, however, DataRap contains serious flaws that have caused
                         2    WellMed and United to submit false claims to CMS. WellMed built DataRap using
                         3    exclusionary logic that fails to filter diagnoses that are missing necessary information,
                         4    such as CPT codes or provider specialty information. DataRap’s list of CPT codes is
                         5    sparse and has not been updated since the system’s development in 2008, which
                         6    causes it to submit diagnoses associated with CPT codes that are no longer eligible for
                         7    risk adjustment. It also cannot accommodate service line item processing and only
                         8    filters for laboratory and radiology CPT codes—not other CPT codes that indicate the
                         9    absence of a face-to-face encounter. Therefore, like IRADS, WellMed designed
                         10   DataRap to maximize the number of claims it could submit with disregard for whether
                         11   those claims were false.
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                         12         235. In addition, WellMed previously conducted chart reviews on behalf of
                         13   UHMR to identify codes for submission to CMS. Unlike United, WellMed’s chart
                         14   audits are prospective. The reviewer looks at present-year charts to check if the
                         15   doctor had failed to code a diagnosis made in the prior year. The reviewer does not,
                         16   however, look for invalid diagnoses in the chart. Furthermore, in July 2011, WellMed
                         17   IT employee Bryan Bain told Relator that WellMed’s practice is not to delete
                         18   incorrect diagnoses from prior years. Thus, if a chart reviewer in 2011 found an
                         19   invalid diagnosis code in a 2010 chart, he or she could not delete that diagnosis
                         20   because the “delete file” that WellMed prepares for submission to CMS is designed to
                         21   include only present-year diagnoses.
                         22         236. When WellMed denies a claim on grounds of fraud, waste, and abuse, it
                         23   does not check whether it submitted diagnoses to CMS based on the denied claim. It
                         24   thus claims payment from CMS for diagnoses taken from claims it identified as
                         25   fraudulent.
                         26         237. The serious problems with DataRap, chart review, and fraud, waste, and
                         27   abuse have contributed to WellMed’s artificially inflated risk scores.
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                         1          238. WellMed’s risk adjustment practices gave it the highest projected risk
                         2    score among UHMR’s capitated providers with over 2,000 members in January 2010.
                         3          239. Instead of imposing a corrective action plan on WellMed or terminating
                         4    its contract, UHMR bought most of WellMed’s business in 2011. Thus, UHMR
                         5    continues to submit—and has refused to correct previously submitted—diagnoses to
                         6    CMS from WellMed, even though it knows many of those diagnoses are false, and has
                         7    increased its revenue from WellMed’s fraudulent coding by buying a stake in it.
                         8          240. Prior to its purchase by United, WellMed owned two health plans,
                         9    Physicians Health Choice (“PHC”) and Citrus Health Care, Inc. (“Citrus”). PHC
                         10   insures or insured approximately 40,000 Part C beneficiaries in Texas, Florida,
                         11   Arkansas, and New Mexico. Citrus insures or insured approximately 10,000 Part C
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                         12   beneficiaries and 44,000 Medicaid beneficiaries in Florida. United acquired both
                         13   PHC and Citrus when it bought WellMed.
                         14         241. WellMed, through its health plans PHC and Citrus, defrauded CMS
                         15   through the plans’ risk adjustment practices.
                         16         242. Both PHC and Citrus use WellMed’s DataRap system to filter and submit
                         17   diagnoses to CMS. As described above, DataRap was designed to submit diagnoses
                         18   so long as WellMed lacked tangible evidence the diagnosis was false, i.e., it submits
                         19   diagnoses that it failed to confirm, but also could not disprove, to have come from a
                         20   qualifying face-to-face encounter. WellMed’s CFO, Joe Zimmerman, told Relator in
                         21   April 2011 that any problems found in WellMed’s charts would logically exist in
                         22   PHC’s and Citrus’s charts as well. He said “we use the same training, tools and
                         23   process with our own health plans as we do in San Antonio,” i.e., at Princeton IPA,
                         24   which submits WellMed’s risk adjustment data to CMS through DataRap. Therefore,
                         25   in addition to DataRap, PHC and Citrus share WellMed’s fraudulent chart review and
                         26   fraud, waste, and abuse processes.
                         27         243. In May 2011, Relator was assigned to review PHC’s and Citrus’s
                         28   submission systems as part of United’s ongoing efforts to absorb WellMed. UHMR
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                         1    CFO Scott Theisen warned Relator to be careful because employees at WellMed
                         2    would be paranoid on account of the many compliance issues United was finding at its
                         3    new company.
                         4    VII. COUNT I
                         5                   Substantive Violations of the Federal False Claims Act
                         6                          31 U.S.C. §§ 3729(a)(1)(A)–(C), (a)(1)(G)
                         7          244. Relator realleges and incorporates by reference the allegations made in
                         8    Paragraphs 1 through 243 of this Complaint.
                         9          245. This is a claim for treble damages and forfeitures under the Federal False
                         10   Claims Act, 31 U.S.C. §§ 3279–33, as amended.
                         11         246. Through the acts described above, Defendants, their agents, employees,
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                         12   and co-conspirators, knowingly presented, or caused to be presented, to the United
                         13   States false and fraudulent claims, and knowingly failed to disclose material facts, in
                         14   order to obtain payment or approval from the United States and its contractors,
                         15   grantees, and other recipients of its funds.
                         16         247. Through the acts described above, Defendants, their agents, employees,
                         17   and co-conspirators, knowingly made, used, and caused to be made and used false
                         18   records and statements, which also omitted material facts, in order to induce the
                         19   United States to approve and pay false and fraudulent claims.
                         20         248. Through the acts described above, Defendants, their agents, employees,
                         21   and co-conspirators, knowingly made, used, and caused to be made and used false
                         22   records and statements material to an obligation to pay and transmit money to the
                         23   United States, and knowingly concealed and improperly avoided and decreased an
                         24   obligation to pay and transmit money to the United States.
                         25         249. Through the acts described above, Defendants, their agents, employees
                         26   and other co-conspirators knowingly conspired to submit false claims to the United
                         27   States and to deceive the United States for the purpose of getting the United States to
                         28   pay or allow false or fraudulent claims.
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                         1            250. The United States, unaware of the falsity of the records, statements, and
                         2    claims made and submitted by Defendants, its agents, employees, and co-conspirators,
                         3    and as a result thereof, paid money that it otherwise would not have paid.
                         4            251. By reason of the payment made by the United States, as a result of
                         5    Defendants’ fraud, the United States has suffered hundreds of millions of dollars in
                         6    damages and continues to be damaged.
                         7    VIII. PRAYER FOR RELIEF
                         8            WHEREFORE, qui tam plaintiff Benjamin Poehling prays for judgment against
                         9    Defendants as follows:
                         10           1.    That Defendants cease and desist from violating 31 U.S.C. §§ 3279–33;
                         11           2.    That the Court enter judgment against Defendants in an amount equal to
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                         12   three times the amount of damages the United States has sustained as a result of
                         13   Defendants’ actions in violation of the Federal False Claims Act, as well as a civil
                         14   penalty in an amount as set forth in 31 U.S.C. § 3729(a) and 28 C.F.R. 85.3(a)(9) for
                         15   each violation of 31 U.S.C. § 3729;
                         16           3.    That Relator be awarded the maximum amount allowed pursuant to 31
                         17   U.S.C. § 3730(d) of the Federal False Claims Act;
                         18           4.    That Relator be awarded all costs of this action, including attorneys' fees
                         19   and expenses; and
                         20           5.     That the United States and Relator receive all such other relief as the
                         21   Court deems just and proper.
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                              IX.     JURY DEMAND
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                                      Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Relator hereby
                         2
                              demands trial by jury.
                         3

                         4    DATED: July 21, 2017                         CONSTANTINE CANNON LLP
                                                                           PHILLIPS & COHEN LLP
                         5

                         6                                                 By:      /s/ Mary A. Inman
                                                                                        Mary A. Inman
                         7                                                 Attorneys for Qui Tam Plaintiff Benjamin
                                                                           Poehling
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                         1
                                                                 ATTACHMENT A
                         2
                                                  DEFENDANTS NAMED IN PARAGRAPH 24
                         3

                         4    1.      AmeriChoice of New Jersey, Inc. is a New Jersey corporation, doing business
                                      as AmeriChoice Personal Care Plus and UnitedHealthcare Community Plan.
                         5
                              2.      Arizona Physicians IPA, Inc. is an Arizona corporation, doing business as
                         6            APIPA Personal Care Plus and UnitedHealthcare Community Plan.
                         7    3.      Care Improvement Plus of Maryland, Inc. is or was a Maryland corporation,
                                      doing business as Care Improvement Plus.
                         8
                              4.      Care Improvement Plus of Texas Insurance Company is a Texas insurance
                         9            company, doing business as Care Improvement Plus.
                         10   5.      Care Improvement Plus South Central Insurance Co., is an Arkansas insurance
                                      company, doing business as Care Improvement Plus and UnitedHealthcare.
                         11
                              6.      Care Improvement Plus Wisconsin Insurance Company, is a Wisconsin
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                         12           insurance company, doing business as Care Improvement Plus and
                                      UnitedHealthcare.
                         13
                              7.      Catamaran Insurance of Ohio, Inc., is an Ohio corporation.
                         14
                              8.      Citrus Health Care, Inc., is or was a Florida corporation.
                         15
                              9.      Health Plan of Nevada, Inc., is a Nevada corporation.
                         16
                              10.     Medica HealthCare Plans, Inc. is a Florida corporation.
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                              11.     Oxford Health Plans (CT), Inc., is a Connecticut corporation, doing business as
                         18           AARP MedicareComplete from SecureHorizons; Oxford Medicare Advantage;
                                      SecureHorizons; SecureHorizons by UnitedHealthCare; and, UnitedHealthcare.
                         19
                              12.     Oxford Health Plans (NJ), Inc., also known as Oxford Health Plans of New
                         20           Jersey, Inc., is a New Jersey corporation, doing business as AARP
                                      MedicareComplete from SecureHorizons; AARP MedicareComplete provided
                         21           by SecureHorizons; Evercare; Evercare by UnitedHealthcare; Evercare Health
                                      Plans; Evercare Plan H; SecureHorizons; SecureHorizons by UnitedHealthCare;
                         22           and, UnitedHealthcare.
                         23   13.     Oxford Health Plans (NY), Inc., is a New York corporation, doing business as
                                      Oxford Medicare Advantage; SecureHorizons; SecureHorizons by
                         24           UnitedHealthcare; and, UnitedHealthcare.
                         25   14.     PacifiCare Life and Health Insurance Company is an Indiana insurance
                                      company, doing business as SecureHorizons Direct; and, SecureHorizons
                         26           MedicareDirect.
                         27   15.     PacifiCare of Arizona, Inc. is an Arizona corporation doing business as
                                      SecureHorizons Medicare Advantage Plan; SecureHorizons by
                         28           UnitedHealthcare; and, UnitedHealthcare.


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                              16.    PacifiCare of Colorado, Inc, is a Colorado corporation doing business as AARP
                         1           MedciareComplete from Secure Horizons; AARP MedicareComplete provided
                                     by SecureHorizons; Secure Horizons Medicare Advantage Plan;
                         2           SecureHorizons by UnitedHealthcare; and, UnitedHealthcare.
                         3    17.    PacifiCare of Nevada, Inc., also known as Pacificare/UHC of Nevada, is a
                                     Nevada corporation doing business as AARP MedicareComplete provided by
                         4           SecureHorizons; Pacificare/UHC of Nevada; Secure Horizons Medicare
                                     Advantage Plan; SecureHorizons by UnitedHealthcare; and, UnitedHealthcare.
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                              18.    Physicians Health Choice of Texas, LLC, is a Texas limited liability company
                         6           doing business as Physicians Health Choice.
                         7    19.    Preferred Care Partners, Inc. is a Florida corporation doing business as
                                     UnitedHealthcare.
                         8
                              20.    Rocky Mountain Health Maintenance Organization, Inc., is a Colorado
                         9           company.
                         10   21.    Sierra Health and Life Insurance Company, Inc. is a Nevada corporation doing
                                     business as Erickson Advantage and UnitedHealthcare.
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                              22.    Symphonix Health Insurance, Inc. is an Illinois insurance company doing
                         12          business as Symphonix Health
                         13   23.    UHC of California, Inc., formerly known as PacifiCare of California, Inc. and
                                     Pacificare of California/Secure Horizons, is a California corporation doing
                         14          business as SecureHorizons by UnitedHealthcare, Secure Horizons Medicare
                                     Advantage Plan and UnitedHealthcare.
                         15
                              24.    Unison Health Plan of Tennessee, Inc., is a Tennessee corporation doing
                         16          business as Unison Advantage and UnitedHealthcare Community Plan.
                         17   25.    United Health Care Ins. Co. and United New York, is a New York insurance
                                     company doing business as UnitedHealthcare.
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                              26.    UnitedHealthcare Benefits of Texas, Inc., formerly known as PacifiCare of
                         19          Texas, Inc., is a Texas corporation doing business as SecureHorizons Medicare
                                     Advantage Plan; SecureHorizons by UnitedHealthcare; and UnitedHealthcare.
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                              27.    UnitedHealthcare Community Plan of Ohio, Inc., formerly known as Unison
                         21          Health Plan of Ohio, Inc., is an Ohio corporation doing business as Unison
                                     Advantage and UnitedHealthcare Community Plan.
                         22
                              28.    UnitedHealthcare Community Plan of Texas, L.L.C., formerly known as
                         23          Evercare of Texas, LLC, is a Texas limited liability company doing business as
                                     Evercare by UnitedHealthcare and Evercare Health Plans; and,
                         24          UnitedHealthcare.
                         25   29.    UnitedHealthcare Community Plan, Inc., also known as Great Lakes Health
                                     Plan, Inc. and UnitedHealthcare of the Great Lakes Health Plan, Inc. is a
                         26          Michigan corporation, doing business as Great Lakes Personal Care Plus and
                                     UnitedHealthcare Community Plan.
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                              30.    UnitedHealthcare Insurance Company of New York, also known as United
                         1           Healthcare Insurance Company of New York, is a New York insurance
                                     company doing business as SecureHorizons; SecureHorizons MedicareDirect;
                         2           SecureHorizons by UnitedHealthcare; and, UnitedHealthcare.
                         3    31.    UnitedHealthcare Insurance Company, also known as United Healthcare
                                     Insurance Company, is a Connecticut insurance company doing business as
                         4           AARP MedicareComplete from SecureHorizons; Erickson Advantage;
                                     Evercare by UnitedHealthcare; Evercare Health Plans; Evercare Senior Care
                         5           Options; SecureHorizons; SecureHorizons by UnitedHealthcare;
                                     SecureHorizons MedicareDirect; United Health Group; UnitedHealthcare; and
                         6           UnitedHealthcare Community Plan.
                         7    32.    UnitedHealthcare of Alabama, Inc. is an Alabama corporation, also known as
                                     United Healthcare of Alabama, Inc., doing business as SecureHorizons;
                         8           SecureHorizons by UnitedHealthcare; and UnitedHealthcare.
                         9    33.    UnitedHealthcare of Arizona, Inc. is an Arizona corporation doing business as
                                     SecureHorizons; SecureHorizons by UnitedHealthcare; and, UnitedHealthcare.
                         10
                              34.    UnitedHealthcare of Arkansas, Inc. is an Arkansas corporation doing business
                         11          as SecureHorizons; SecureHorizons by UnitedHealthcare; and,
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                                     UnitedHealthcare.
                         12
                              35.    UnitedHealthcare of Florida, Inc., also known as United Healthcare of Florida,
                         13          Inc. is a Florida corporation doing business as AmeriChoice; Evercare at Home;
                                     SecureHorizons; SecureHorizons by UnitedHealthcare; and, UnitedHealthcare.
                         14
                              36.    UnitedHealthcare of Georgia, Inc., also known as United Healthcare of
                         15          Georgia, Inc., is a Georgia corporation doing business as SecureHorizons;
                                     SecureHorizons by UnitedHealthcare; and UnitedHealthcare.
                         16
                              37.    UnitedHealthcare of New England, Inc., also known as United Health Plans of
                         17          New England, Inc., is a Rhode Island corporation doing business as AARP
                                     MedicareComplete provided by SecureHorizons; AARP MedicareComplete
                         18          from SecureHorizons; SecureHorizons by UnitedHealthcare; and,
                                     UnitedHealthcare.
                         19
                              38.    UnitedHealthcare of New York, Inc., also known as Americhoice of New York,
                         20          Inc. and United Healthcare of New York, Inc. is a New York corporation doing
                                     business as AmeriChoice Personal Care Plus; SecureHorizons; SecureHorizons
                         21          by UnitedHealthcare; UnitedHealthcare; and, UnitedHealthcare Community
                                     Plan
                         22
                              39.    UnitedHealthcare of North Carolina, Inc., also known as United Healthcare of
                         23          North Carolina, Inc. is a North Carolina corporation doing business as
                                     SecureHorizons; SecureHorizons by UnitedHealthcare and UnitedHealthcare.
                         24
                              40.    UnitedHealthcare of Ohio, Inc., also known as United Healthcare of Ohio, Inc.,
                         25          is an Ohio corporation doing business as SecureHorizons, SecureHorizons by
                                     UnitedHealthcare and UnitedHealthcare.
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                              41.    UnitedHealthcare of Oklahoma, Inc., formerly known as PacifiCare of
                         1           Oklahoma, Inc., is an Oklahoma corporation doing business as Secure Horizons
                                     Medicare Advantage Plan; SecureHorizons by UnitedHealthcare, and
                         2           UnitedHealthcare.
                         3    42.    UnitedHealthcare of Oregon, Inc., formerly known as PacifiCare of Oregon,
                                     Inc., is an Oregon corporation, doing business as AARP MedicareComplete
                         4           from SecureHorizons; AARP MedicareComplete provided by SecureHorizons;
                                     SecureHorizons Medicare Advantage Plan; SecureHorizons by
                         5           UnitedHealthCare; and, UnitedHealthcare.
                         6    43.    UnitedHealthcare of Pennsylvania, Inc., formerly known as Unison Health Plan
                                     of Pennsylvania, Inc., is a Pennsylvania corporation doing business as Unison
                         7           Advantage; UnitedHealthcare Community Plan; and UnitedHealthcare.
                         8    44.    UnitedHealthcare of Tennessee, Inc., also known as United Healthcare of
                                     Tennessee, Inc., is a Tennessee corporation doing business as AARP
                         9           MedicareComplete from SecureHorizons; AARP MedicareComplete provided
                                     by SecureHorizons; SecureHorizons; and SecureHorizons by
                         10          UnitedHealthcare.
                         11   45.    UnitedHealthcare of the Midlands, Inc., also known as United Healthcare of the
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                                     Midlands, Inc., is a Nebraska corporation doing business as SecureHorizons by
                         12          UnitedHealthcare and UnitedHealthcare.
                         13   46.    UnitedHealthcare of the Midwest, Inc., also known as United Healthcare of the
                                     Midwest, Inc., is a Missouri corporation doing business as SecureHorizons;
                         14          SecureHorizons by UnitedHealthcare; and, UnitedHealthcare.
                         15   47.    UnitedHealthcare of Utah, Inc., also known as United Healthcare of Utah, Inc.,
                                     is a Utah corporation doing business as SecureHorizons; SecureHorizons by
                         16          UnitedHealthcare; and, UnitedHealthcare.
                         17   48.    UnitedHealthcare of Washington, Inc., formerly known as PacifiCare of
                                     Washington, Inc., is a Washington corporation, doing business as AARP
                         18          MedicareComplete from SecureHorizons; Secure Horizons Medicare
                                     Advantage Plan; SecureHorizons by UnitedHealthcare; and, UnitedHealthcare.
                         19
                              49.    UnitedHealthcare of Wisconsin, Inc., also known as United Healthcare of
                         20          Wisconsin, Inc. is a Wisconsin corporation doing business as SecureHorizons;
                                     SecureHorizons by UnitedHealthcare; UnitedHealthcare Community Plan;
                         21          UnitedHealthcare Personal Care Plus; and, UnitedHealthcare.
                         22   50.    UnitedHealthcare Plan of the River Valley, Inc., also known as United
                                     Healthcare Plan of the River Valley, Inc. is an Illinois corporation doing
                         23          business as AmeriChoice Secure Plus Complete; SecureHorizons by
                                     UnitedHealthcare; UnitedHealthcare; and, UnitedHealthcare Community Plan.
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